Case 1:08-cv-00008-KMW-MJS       Document 4541      Filed 03/23/22   Page 1 of 87 PageID:
                                       86226



  *FOR PUBLICATON*

                     UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY
  _______________________________________

      IN RE FOSAMAX (ALENDRONATE
                                                           MDL No. 2243
      SODIUM) PRODUCTS LIABILITY
      LITIGATION
                                                   Civil Action No. 3:08-08 (FLW)
      THIS OPINION RELATES TO: ALL
                                                             OPINION
      ACTIONS


  WOLFSON, Chief Judge:

         In this failure-to-warn case, more than 500 individuals (“Plaintiffs”) who took

  Fosamax, a drug manufactured by Defendant Merck Sharp & Dohme (“Defendant” or

  “Merck”) to prevent and treat osteoporosis in postmenopausal women, brought suit

  claiming that they suffered atypical femoral fractures between 1999 and 2010. More

  than eight years ago, following a bellwether trial, the late Hon. Joel A. Pisano,

  U.S.D.J., granted summary judgment in favor of Merck, ruling that federal law

  preempted Plaintiff’s state law failure-to-warn claims. 1 In re Fosamax (Alendronate

  Sodium) Prod. Liab. Litig., 951 F. Supp. 3d 695, 701, 703-04 (D.N.J. 2013)

  [hereinafter Glynn]. On appeal, the Third Circuit vacated and remanded this matter,

  concluding that preemption presented “a question of fact for the jury,” not a question

  of law for the judge. In re Fosamax (Alendronate Sodium) Prod. Liab. Litig., 852 F.

  3d 268, 271, 293 (3d Cir. 2017) [hereinafter Fosamax], vacated and remanded, 139

  S.Ct. 1668. And, in answering that question, the Third Circuit held that the jury


  1      After Judge Pisano retired from the Court, the Multidistrict Litigation Panel
  reassigned this MDL to me.


                                            1
Case 1:08-cv-00008-KMW-MJS        Document 4541      Filed 03/23/22   Page 2 of 87 PageID:
                                        86227



  must apply a heightened standard of proof, sustaining the preemption defense only

  if Merck proved it by “clear and convincing evidence.” Id. at 285-86. Merck, however,

  petitioned for a writ of certiorari, which was granted by the United States Supreme

  Court. In Merck Sharpe & Dohme Corp. v. Albrecht, 139 S.Ct. 1668, 1676, 1679-80

  (2019), the Supreme Court vacated and remanded the Third Circuit’s decision,

  holding that the preemption inquiry is “a legal one for the judge, not a jury.” Upon

  remand, the Third Circuit returned the case to this Court to decide “in the first

  instance whether the plaintiffs’ state law claims are preempted by federal law under

  the standards described by the Supreme Court.” Order at 1, No. 14-1900 (3d Cir. Nov.

  25, 2019). The Third Circuit further instructed this Court “to determine the effect of

  the [Food and Drug Administration’s (“FDA” or “Agency”)] Complete Response Letter

  [(“CRL”)] and other communications with Merck on the issue of whether such agency

  actions are sufficient to give rise to preemption.” Id.

        On remand, Merck reiterates its position that federal law preempts Plaintiffs’

  state law failure-to-warn claims. In particular, Defendant relies on the FDA’s 2019

  communication, in the form of a CRL, rejecting a warning concerning atypical femoral

  fractures that Merck proposed. Plaintiffs, on the other hand, argue that the CRL is

  not “clear evidence” that the FDA would have rejected any and all warnings. Having

  reviewed the submission of the parties, the Court finds that based on clear and

  convincing evidence, Defendant fully informed the FDA of the justifications for its

  proposed warning, which was adequate under state law and encompassed the injury

  Plaintiffs allege here, and the FDA, in turn, informed Defendant that it would not




                                             2
Case 1:08-cv-00008-KMW-MJS        Document 4541     Filed 03/23/22    Page 3 of 87 PageID:
                                        86228



  approve changing the Fosamax label to include that warning in the CRL. Because the

  FDA’s rejection was predicated on insufficient evidence of a causal link between

  Fosamax and atypical femoral fractures, it is clear that the Agency would not have

  approved a differently worded warning about such a risk. Plaintiffs’ state law failure-

  to-warn claims are therefore preempted, and Defendant’s Motion for Summary

  Judgment is GRANTED.

             FACUAL BACKGROUND AND PROCEDURAL HISTORY

        The factual background and procedural history of this case, which are largely

  not in dispute, are primarily adopted from the Supreme Court and Third Circuit’s

  decisions in this matter, as well as Judge Pisano’s dual decisions in Glynn and In re

  Fosamax (Alendronate Sodium) Prod. Liab. Litig., 2014 WL 1266994, at *17 (D.N.J.

  Mar. 22, 2014) [hereinafter OTSC Opinion].

        A.     Fosamax

        Merck manufactures Fosamax, a drug that treats and prevents osteoporosis in

  postmenopausal women. Merck, 139 S.Ct. at 1668. Fosamax belongs to a class of

  drugs called “bisphosphonates,” which operate on the “remodeling process,” where

  the body breaks down bones and builds them back up. In postmenopausal women,

  this process can “fall out of sync,” id. at 1673, such that the body removes old bone

  cells faster than it replaces them. When resorption exceeds formation, the result is

  osteoporosis, or low bone mass that increases the risk of fractures. Fosamax “slows

  the breakdown of old bone cells and thereby helps postmenopausal women

  avoid [such] fractures.” Id. However, by reducing resorption, the drug may cause




                                            3
Case 1:08-cv-00008-KMW-MJS        Document 4541       Filed 03/23/22   Page 4 of 87 PageID:
                                        86229



  some microscopic stress fractures to develop into a specific type of stress fracture

  known as atypical femoral fractures, or complete breaks that “cause great pain and

  require surgical intervention to repair.” Id. at 1674.

        A low energy, or also known as atypical, fracture is defined as one that is

  caused by the equivalent of a fall from standing height or less, which involves

  minimal force. A stress fracture is defined as a partial or complete fracture occurring

  with either normal or increased activity, but without an identifiable external

  traumatic event. Stress fractures, in this context, are included in the larger group of

  low-energy fractures. In postmenopausal osteoporotic women, the proximal femur is

  one of the most commonly affected sites for fractures, as are the pelvis, distal tibia

  and metatarsals. See Def. Br., Ex. 1 at A2751-52.

        B.     The Regulatory Framework for Drug Labeling

        Congress has charged the FDA with ensuring that every prescription drug on

  the market is “safe for use under the conditions prescribed, recommended, or

  suggested” in its “labeling.” 21 U.S.C. § 355(d). As that directive suggests, labeling is

  the “centerpiece” of the FDA’s risk management strategy for approved drugs, and the

  primary means by which the FDA communicates its conclusions about drug safety to

  the public. 71 Fed. Reg. 3922, 3944. Prospective drug manufacturers, such as Merck,

  must work with the FDA to develop an appropriate label when they submit a new

  drug for approval. 21 U.S.C. §§ 355(a), (b), (d)(7); 21 C.F.R. § 314.125(b)(6). The FDA




                                             4
Case 1:08-cv-00008-KMW-MJS           Document 4541       Filed 03/23/22     Page 5 of 87 PageID:
                                           86230



  closely regulates the safety information on drug labels, down to the exact text of

  warnings. 2 21 U.S.C. § 355(b)(1)(F); 21 C.F.R. § 201.57(a).

         Drug labels include two sections relevant to this case: a “Precautions” section

  and an “Adverse Reactions” section. The Precautions section narrowly describes

  “clinically significant adverse reactions,” including any that are “serious even if

  infrequent.” 21 C.F.R. § 201.57(c)(6)(i). The Adverse Reactions section more broadly

  describes “the overall . . . profile of the drug based on the entire safety database,”

  including a list of all “undesirable effect[s], reasonably associated with use.” Id. §

  201.57(c)(7).

         The threshold for placing a warning regarding an adverse event in the

  Precautions section is “reasonable evidence of a causal association.” 21 C.F.R. §

  201.57(c)(6)(iii) (providing that the Precautions section “must be revised to include a

  warning about a clinically significant hazard as soon as there is [such evidence] . . . a

  causal relationship need not have been definitely established”); Fed. Reg. 49,603,

  49,604. The FDA designed this standard so as not to dilute “more important

  warnings” or “deter appropriate use.” 73 Fed. Reg. at 49,605, 40,606. In other words,

  the Precautions section is reserved for a “discrete set” of serious risks that would




  2       In this context, the label “refers more broadly to the written material that is sent to
  the physician who prescribes the drug and . . . that comes with the prescription bottle when
  the drug is handed to the patient at the pharmacy.” Merck, 139 S.Ct. at 1672; 21 U.S.C. §
  321(m). The label contains detailed information about the drug’s medical uses and health
  risks. 21 U.S.C. § 355(b)(1)(F); 21 C.F.R. § 201.57(a). The FDA regulates the content, format,
  and order of the safety information on the drug label. 21 C.F.R. § 201.57(c). Drug labels must
  include, inter alia, warnings and precautions about potential safety hazards and adverse
  reactions for which there is sufficient evidence of, as determined by the FDA, a causal
  relationship between the drug and the occurrence of the adverse event. See infra.


                                                5
Case 1:08-cv-00008-KMW-MJS        Document 4541      Filed 03/23/22   Page 6 of 87 PageID:
                                        86231



  affect a doctor’s prescribing decisions or be “potentially fatal.” 71 Fed. Reg. 3922-01,

  3946; FDA, Guidance for Industry: Warnings and Precautions, Contraindications,

  and Boxed Warning Sections of Labeling for Human Prescription Drug and Biological

  Products – Content and Format, at 3 (Oct. 2011). On the other hand, the threshold

  for warning of an adverse event in the Adverse Reactions section is comparatively

  lower: “some basis to believe there is a causal relationship between the drug and the

  occurrence of the adverse event.” 21 C.F.R. § 201.57(c)(7).

        New information about a drug may require changing its label. 21 U.S.C. §§

  314.80(c), 314.81(b)(2)(i). A drug manufacturer may change its label in one of two

  ways. More commonly, it may seek advance permission from the FDA through a Prior

  Approval Supplement Application (“PAS”). 21 C.F.R. § 314.70(b). Alternatively, it

  may change a label immediately and unilaterally through a Changes Being Effected

  Application (“CBE”) to reflect “newly acquired information” about “evidence of a

  casual association between the drug and a risk of harm.” Merck, 139 S.Ct. at 1673

  (quotations omitted); 21 U.S.C. § 314.70(c)(6)(iii)(A); 21 C.F.R. § 314.3(b) (defining

  “[n]ewly acquired information” to mean, inter alia, risks not previously known or

  previously underestimated). Whatever method a manufacturer chooses, it must meet

  the causal thresholds described above, and significantly, the FDA retains authority

  to reject even a CBE amendment if there is insufficient evidence of a link between

  the drug and the adverse event. 73 Fed. Reg. 2848, 2851; 21 C.F.R. §

  314.70(c)(6)(iii)(A) (providing that the FDA will approve a label change only if “the




                                             6
Case 1:08-cv-00008-KMW-MJS        Document 4541      Filed 03/23/22   Page 7 of 87 PageID:
                                        86232



  evidence of a causal association satisfies the standard for inclusion in the labeling”);

  id. §§ 314.125(b)(6), (b)(8).

         Because of the availability of the CBE process, “a drug manufacturer will not

  ordinarily be able to show that there is an actual conflict between state and federal

  law such that it was impossible to comply with both.” Merck, 139 S.Ct. at 1679. At

  the same time, the FDA will not approve a warning simply out of an abundance of

  caution whenever a manufacturer posits an association between a drug and an

  adverse event. As the FDA has long recognized, “[e]xaggeration of risk, or inclusion

  of speculative or hypothetical risks, could discourage appropriate use of a beneficial

  drug.” 73 Fed. Reg. 2848, 2851. Because “labeling that includes theoretical hazards

  not well-grounded in scientific evidence can cause meaningful risk information to lose

  its significance,” the FDA prohibits “a change to labeling [, either through the PAS or

  CBE process,] to add a [Precautions] warning in the absence of [at least] reasonable

  evidence of an association.” Id. This represents a more conservative approach than

  state tort law, which generally incentivizes a manufacturer to warn about every

  conceivable hazard to limit liability. See Wyeth v. Levine, 555 U.S. 555, 557 (2009).

         Finally, the FDA has an independent obligation to ensure that drug labels

  reflect new risks. 21 U.S.C. § 355(o)(4)(A) (providing that, if the agency “becomes

  aware of new information, including any new safety information,” which “should be

  included in the labeling of the drug,” it “shall promptly notify the [manufacturer]”).

  Indeed, Congress has “reaffirmed the manufacturer’s . . . ultimate responsibility for

  its label,” including when it “granted the FDA th[e] authority” to mandate label




                                             7
Case 1:08-cv-00008-KMW-MJS           Document 4541        Filed 03/23/22     Page 8 of 87 PageID:
                                           86233



  changes in 2007. 3 Wyeth, 555 U.S. at 571; 21 U.S.C. § 355(o)(4)(I). If new safety

  information arises regarding a particular risk, the manufacturer, similarly,

  maintains “a duty to provide a warning that adequately describe[s] that risk,” Wyeth,

  555 U.S. at 571, and “bears responsibility for the content of its label at all times,”

  Merck, 139 S.Ct. at 1677 (explaining that this has “remained a central premise of

  federal drug regulation”), regardless of whether the FDA takes parallel action.

         C.     The Fosamax Label History

         When the FDA approved Fosamax in 1995, the label did not warn of a risk of

  the adverse event Plaintiffs allege here, i.e., atypical femoral fractures. Fosamax,

  852 F. 3d at 271, 274-75. However, Merck was “aware of at least a theoretical risk” of

  such particular fractures as early as 1992, during clinical trials, and brought it to the

  FDA’s attention at that time. Merck, 139 S. Ct. at 1674 (informing the FDA that

  “antiresorptive agents may inhibit microdamage repair by preventing . . . bone

  resorption at the sites of microdamage”). More evidence came to light after 1995,

  when “Merck began receiving adverse event reports from the medical community




  3      FDA regulations also require a New Drug Application (“NDA”) to disclose all
  “pertinent” safety information. 21 C.F.R. § 314.50 (requiring “reports of all investigations of
  the drug product sponsored by the applicant, and all other information about the drug
  pertinent to an evaluation of the NDA that is received or otherwise obtained by the applicant
  from any source”); id. § 314.50(d)(5)(vi)(a) (requiring “an integrated summary of all available
  information about the safety of the drug product, including pertinent animal data[ and]
  demonstrated or potential adverse effects of the drug”); id. § 312.50 (stating that “[s]ponsors
  are responsible for . . . providing [investigators] with the information they need to conduct an
  investigation properly . . . and ensuring that [the] FDA and all participating investigators
  are promptly informed of significant new adverse effects or risks with respect to the drug”).
  The FDA approval process is “onerous and lengthy.” Mut. Pharm. Co. v. Bartlett, 570 U.S.
  472, 476 (2013).


                                                 8
Case 1:08-cv-00008-KMW-MJS          Document 4541       Filed 03/23/22    Page 9 of 87 PageID:
                                          86234



  indicating that long-term Fosamax users were suffering atypical femoral fractures.” 4

  Merck, 139 S.Ct. at 1674. Based on its own analysis of these increasing reports, in

  2005, Merck preliminarily concluded that there was a statistically significant

  increase in the incidence of atypical femoral fractures among Fosamax users. Pl. Br.,

  Ex. 8, at A1272-73.

         Merck also “began to see numerous scholarly articles and case studies

  documenting possible connections between long-term Fosamax use and atypical

  femoral fractures.” Merck, 139 S.Ct. at 1674. However, none of these studies

  concluded that Fosamax actually caused atypical femoral fractures, or even that they

  were definitively associated with Fosamax use. Fosamax, 852 F.3d at 275 (citing

  A1258) (stating that Fosamax may potentially increase the risk of such fractures); id.

  (citing A1237) (stating that Fosamax may be associated with such fractures; id.

  (citing A1243) (stating that certain findings raised the possibility that Fosamax may

  lead to such fractures). Still, Merck forwarded them to the FDA. Fosamax, 862 F.3d

  at 275.

         In March 2008, Merck submitted to the FDA a 165-page periodic safety update,

  the twenty-ninth of its kind, with thirty pages dedicated to “recent publications”

  “implicat[ing] a link between prolonged bisphosphonate therapy and atypical low-

  energy non-vertebral fractures,” and “relat[ing] these findings to severely suppressed

  bone turnover that may develop during long-term” use of Fosamax. Def. Rep. Br., Ex.


  4      For example, in 2002, Merck received a report from a doctor who said that his hospital
  called atypical femoral fractures the “Fosamax Fracture” because “100% of patients in his
  practice who have experienced femoral fractures (without being hit by a taxicab), were taking
  Fosamax . . . for over 5 years.” Merck, 139 S.Ct. at 1674 (quotations and citations omitted).


                                               9
Case 1:08-cv-00008-KMW-MJS       Document 4541     Filed 03/23/22    Page 10 of 87 PageID:
                                       86235



  14, at A2597. Later that month, Merck sent the FDA a letter from the New England

  Journal of Medicine describing “a potential link between [bisphosphonate] use and

  low-energy fractures of the femur.” Id., Ex. 13. The FDA, in turn, informed Merck in

  June 2008, that it was “aware of reports regarding the occurrence of subtrochanteric

  hip fractures in patients using bisphosphonates” and was “concerned about this

  developing safety signal.” Pl. Br., Ex. 10, at A1145. The Agency asked Merck for

  additional data and investigations by July 2008, and Merck complied.

        In September 2008, while its data was pending review, Merck submitted to the

  FDA a PAS, i.e., application to enlarge the warning label, to amend the Adverse

  Reactions section of the Fosamax label with a warning about “low-energy femoral

  shaft fractures,” id., Ex. 38, at A1349, and to cross-reference a longer discussion in

  the Precautions section. Merck, 139 S.Ct. at 1674. Specifically, Merck proposed

  adding the following language to the Precautions section:

        Low-Energy Femoral Shaft Fracture

        Low-energy fractures of the subtrochanteric and proximal femoral shaft
        have been reported in a small number of bisphosphonate-treated
        patients. Some were stress fractures (also known as insufficiency
        fractures) occurring in the absence of trauma. Some patients
        experienced prodromal pain in the affected area, often associated with
        imaging features of stress fracture, weeks to months before a complete
        fracture occurred. The number of reports of this condition is very low,
        and stress fractures with similar clinical features also have occurred in
        patients not treated with bisphosphonates. Patients with suspected
        stress fractures should be evaluated, including evaluation for known
        causes and risk factors (e.g., vitamin D deficiency, malabsorption,
        glucocorticoid use, previous stress fracture, lower extremity arthritis or
        fracture, extreme or increased exercise, diabetes mellitus, chronic
        alcohol abuse), and receive appropriate orthopedic care. Interruption of
        bisphosphonate therapy in patients with stress fractures should be




                                           10
Case 1:08-cv-00008-KMW-MJS         Document 4541        Filed 03/23/22    Page 11 of 87 PageID:
                                         86236



         considered, pending evaluation of the patient, based on individual
         benefit/risk assessment.

  Pl. Br., Ex. 38 at A1371. 5

         As part of its PAS to the FDA, Merck submitted a lengthy analysis of femoral

  fractures in Fosamax users, cited to nine articles on such cases, and summarized the

  findings in a clinical overview. Merck opined that, although “[i]t is not possible with

  the present data to establish whether” Fosamax “increases the risk of . . . low-energy

  subtrochanteric and/or proximal shaft fractures,” because they tended to arise

  alongside Fosamax use, it is “important to include an appropriate statement” about

  them in the drug’s precautions section. Id., Ex. 38, at A1349-51.

         In April 2009, Merck discussed its pending PAS with FDA official, Dr. Scott

  Monroe. According to Merck’s notes, Dr. Monroe expressed that, while the FDA could

  agree to additional language in the Adverse Reactions section, it likely would not

  approve similar language in the Precautions section. Pl. Br., Ex. 33, at A1970-71. Dr.

  Monroe advised that the FDA would likely “approach the issue of a precaution from

  the [perspective] of all bisphosphonates [from various drug manufacturers]” and was

  “working with the Office of Safety and Epidemiology [“OSE”] to do so.” Id. But,

  because “the conflicting nature of the literature does not provide a clear path forward,



  5      Based on a review of scientific studies in the record, including the FDA’s September
  2010 Task Force Report, as mentioned supra, I note that “low-energy femoral shaft fractures”
  are the same as “atypical femoral fractures.” See Pl. Br., Ex. 2, at A1152. In layman’s terms,
  “atypical femoral fractures” are a “rare type of complete, low-energy fracture [that] affects
  the thigh bone.” Merck, 139 S.Ct. 1674. The low-energy component, critical to both terms,
  generally means that the fracture was caused by a slip, trip, or fall from standing height or
  less. See Pl. Br., Ex. 2. At A1152. Thus, low-energy fractures are typically caused by
  mechanical forces that would not ordinarily result in fracture, while high-energy fractures,
  on the other hand, are generally associated with a more focused and substantial trauma.


                                               11
Case 1:08-cv-00008-KMW-MJS        Document 4541      Filed 03/23/22    Page 12 of 87 PageID:
                                        86237



  . . . more time will be need[ed] for FDA to formulate a formal opinion on the issue of

  a precaution.” Id. In Dr. Monroe’s view, Merck’s “elevation” of the warning to a

  Precaution was “prolonging” approval of any amendment to the label. Id.

        Later that month, an FDA official emailed Merck that the FDA was not

  prepared to include language about low-energy femoral fractures in the Precautions

  section, and “could . . . only” “approve[]” such a warning “in the adverse events section

  of the label.” Def. Br., Ex. 3, at A1498. The official asked Merck to “hold off on the

  [Precautions] language” so that drug evaluators could “work with [the Office of

  Surveillance and Epidemiology] and Merck to decide on . . . atypical fracture

  language, if it is warranted.” Id. The next month, in May 2009, officially responding

  to Merck’s PAS, Dr. Monroe drafted a CRL which stated that the FDA approved a

  warning in the Adverse Reactions section, subject to some rewording, but rejected one

  in the Precautions section. Then, the FDA explained:

        We have completed the review of your [PAS], as amended, and have
        determined that we cannot approve these applications in their present
        form. We have described below our reasons for this action and our
        recommendation to address this issue.

        1. While the Division agrees that atypical and subtrochanteric fractures
        should be added to the ADVERSE REACTIONS, Post-Marketing
        Experience subsections of the [Fosamax] labels, your justification for
        the proposed PRECAUTIONS section language is inadequate.
        Identification of “stress fractures” may not be clearly related to the
        atypical subtrochanteric fractures that have been reported in the
        literature. Discussion of the risk factors for stress fractures is not
        warranted and is not adequately supported by the available literature
        and post-marketing adverse event reporting.

  Def. Br., Ex. 2, at A1500-01.




                                             12
Case 1:08-cv-00008-KMW-MJS        Document 4541     Filed 03/23/22    Page 13 of 87 PageID:
                                        86238



        On the same day that the FDA sent the CRL, Merck “asked the [Agency]” for

  a “teleconference to discuss what [Precautions language] may be acceptable.” Pl. Br.,

  Ex. 13. A few weeks later, undeterred, Merck again asked “for a meeting . . . to discuss

  the issues that were raised in the [CRL] to Merck’s proposed text to the Precautions

  section.” Id., Ex. 14. Merck also asked to “leave the previous PAS active to permit

  further discussions with the agency.” Id., Ex. 15. The FDA “informed [Merck] that

  the proposal was not in-line with Dr. Monroe’s request that all deficiencies need to be

  addressed to start a new review cycle,” and any meeting must be formally requested.

  Id. Merck maintained that “[atypical] fractures should [still] be described in the

  Precautions section,” and suggested “broach[ing]” that topic in an unrelated

  teleconference the following day, to which the FDA responded it might be “possible,”

  albeit “not the objective of the meeting.” Id.

        Pursuant to FDA regulations, within one year of the CRL, Merck had to

  “resubmit” its application “addressing all deficiencies identified” in the CRL,

  withdraw it, or request a hearing, after which “the agency will either approve” or

  “refuse” the label change. 21 C.F.R. § 314.110(b). In July 2009, Merck elected to

  withdraw, Def. Br., Ex. 4, at A2961, change the Adverse Reactions section through a

  CBE amendment, as recommended by the FDA, id. at A2963-64, and leave the

  Precautions section as-is. But, Merck did not do so without reiterating, once more, its

  desire to add a Precautions warning. Id.

        Unwavering, in March 2010, after reviewing the data submitted by Merck (and

  other manufacturers), the FDA issued a Drug Safety Announcement reiterating that




                                             13
Case 1:08-cv-00008-KMW-MJS       Document 4541      Filed 03/23/22    Page 14 of 87 PageID:
                                       86239



  there was not yet “a clear connection between bisphosphonate use and a risk of

  atypical subtrochanteric femur fractures.” Def. Br., Ex. 5, at A1508-09. The FDA,

  however, announced that it would work with an outside Task Force, which included

  various experts in different agencies, to gather additional information. Id. In

  September 2010, the Task Force found that “there is evidence of a relationship

  between long-term [bisphosphonate] use and a specific type of subtrochanteric and

  femoral shaft fracture,” although not enough to establish causation. Pl. Br., Ex. 2, at

  A1167. The FDA responded with another Drug Safety Announcement stating that,

  “[a]lthough it is not clear if bisphosphonates are the cause [of fractures], these

  unusual femur fractures have been identified in patients taking [such] drugs.” Def.

  Br., Ex. 9, at A1512. The FDA then “assembled and [reviewed] all long term data

  available on the products, as well as all safety reports,” and promised to “keep the

  public informed of additional findings.” Id.

        In October 2010, more than a year after the FDA sent Merck its CRL, the FDA,

  after completing its analysis, finally concluded that “atypical fractures may be related

  to long-term . . . bisphosphonate use,” and announced that it would require all

  bisphosphonate manufacturers to add information on that risk to the Precautions

  sections of their labels. Pl. Br., Ex. 19, at A1118. In a media call accompanying the

  announcement, the FDA’s Deputy Director of the Office of New Drugs stated that the

  Task Force Report made the Agency “confident” that atypical femur fractures are

  “potentially more closely related to” long-term use of bisphosphonates “than [we]

  previously had evidence for.” Def. Br., Ex. 6, at A1396. The FDA wrote to Merck that




                                            14
Case 1:08-cv-00008-KMW-MJS       Document 4541     Filed 03/23/22   Page 15 of 87 PageID:
                                       86240



  day to mandate a label change to Fosamax. Def. Br., Ex. 7, at A1516-17. Specifically,

  the FDA provided language for a warning in the Precautions section:

        Atypical Subtrochanteric and Diaphyseal Femoral Fractures:

        Atypical, low-energy, or low trauma fractures of the femoral shaft have
        been reported in bisphosphonate-treated patients. These fractures can
        occur anywhere in the femoral shaft from just below the lesser
        trochanter to above the supracondylar flare and are transverse or short
        oblique in orientation without evidence of comminution. Causality has
        not been established as these fractures also occur in osteoporotic
        patients who have not been treated with bisphosphonates.

        Atypical femur fractures most commonly occur with minimal or no
        impact to the affected area. They may be bilateral and many patients
        report prodromal pain in the affected area, usually presenting as dull,
        aching thigh pain, weeks to months before a complete fracture occurs. A
        number of reports note that patients were also receiving treatment with
        glucocorticoids (e.g. prednisone) at the time of fracture.

        Any patient with a history of bisphosphonate exposure who presents
        with thigh or groin pain should be suspected of having an atypical
        fracture and should be evaluated to rule out a femur fracture. Subjects
        presenting with an atypical fracture should also be assessed for
        symptoms and signs of fracture in the contralateral limb. Interruption
        of bisphosphonate therapy should be considered, pending a risk/benefit
        assessment, on an individual basis.

  Id.

        In response, Defendant proposed revised language that, once again, referred

  to the risk of “stress fractures.” Pl. Br., Ex. 21, at A1556-57. But, the FDA rejected

  that language, explaining that “the term ‘stress fracture’ was considered and was not

  accepted” because, “for most practitioners, the term ‘stress fracture’ represents a

  minor fracture and this would contradict the seriousness of the atypical femoral

  fractures associated with bisphosphonate use.” Id. at A1540. In January 2011, Merck




                                           15
Case 1:08-cv-00008-KMW-MJS   Document 4541   Filed 03/23/22   Page 16 of 87 PageID:
                                   86241
Case 1:08-cv-00008-KMW-MJS          Document 4541       Filed 03/23/22     Page 17 of 87 PageID:
                                          86242



  Merck argued, in response, that federal law preempted Plaintiffs’ claims—

  specifically, the May 2009 CRL rejecting Merck’s proposed label change. 6

         Following a bellwether trial, Judge Pisano agreed with Merck, and granted

  summary judgment in all cases. OTSC Opinion, 2014 WL 1266994, at *17 (D.N.J.

  Mar. 22, 2014); Glynn, 951 F. Supp. 3d at 701, 703-04. In particular, Judge Pisano

  found, “the fact that the FDA never required [Merck] to submit new language or

  change the label [after rejecting its proposed warning] demonstrates that the FDA

  did not think that the label should have been changed at that time,” and there was

  “clear evidence that the FDA would have rejected a stronger Precautions warning

  because the FDA did reject a stronger Precautions warning.” OTSC Opinion, 2014

  WL 1266994, at *16 (emphasis in original). Indeed, Judge Pisano explained that

  pursuant to the Supreme Court’s decision in Wyeth, a state law failure-to-warn claim

  is preempted if there is “clear evidence” that the FDA “would not have approved” any

  and all warnings.

         Plaintiffs appealed the decision to the Third Circuit, which vacated Judge

  Pisano’s decision. Fosamax, 852 F.3d 268. While recognizing that Wyeth controls the

  analysis, the Court of Appeals reasoned that “[t]he term ‘clear evidence’ . . . does not

  refer directly to the type of facts that a manufacturer must show, or to the

  circumstances in which preemption will be appropriate.” Id. at 285. “Rather, it

  specifies how difficult it will be for the manufacturer to convince the factfinder that


  6       In 2011, the Judicial Panel on Multidistrict Litigation consolidated these cases, which
  once exceeded 1,000 cases, for pre-trial administration in a multi-district litigation (“MDL”)
  in the District of New Jersey. In re: Fosamax (Alendronate Sodium) Prods. Liab. Litig. (No.
  II), 787 F. Supp. 2d 1355 (J.P.M.L. 2011).


                                                17
Case 1:08-cv-00008-KMW-MJS          Document 4541        Filed 03/23/22     Page 18 of 87 PageID:
                                          86243



  the FDA would have rejected a proposed label change.” Id. And, the court determined

  that the factfinder must be a jury not a judge. In that regard, the circuit court devised

  a novel standard: “for a defendant to establish a preemption defense under Wyeth,

  the [jury] must conclude that it is highly probable that the FDA would not have

  approved a change to the drug’s label.” Id. at 286.

         Accepting Merck’s petition for certiorari, the Supreme Court vacated the Third

  Circuit’s opinion and judgment, holding that preemption must be decided by “a judge,

  not the jury,” who, in turn, “must simply ask himself or herself whether the relevant

  federal and state laws irreconcilably conflict.” Merck, 139 S.Ct. at 1676, 1679-80

  (quotations and citation omitted). The Court also “elaborate[d] Wyeth’s” clear

  evidence standard “along the way.” Id. It explained that “[c]lear evidence” exists

  where a drug manufacturer “show[s] that it fully informed the FDA of the

  justifications for the warning required by state law and that the FDA, in turn,

  informed the drug manufacturer that the FDA would not approve changing the drug’s

  label to include that warning.” Id. at 1678. This will not “ordinarily” be the case. Id.

  at 1679. Moreover, “whatever the means the FDA uses to exercise its authority, those

  means must lie within the scope of the authority Congress has lawfully delegated,”

  an “obvious point” which the Court reiterated even though “[t]he question of

  disapproval method is not now before [the Court].” 7 Id. at 1679-80.



  7        Justice Thomas wrote separately to explain his “understanding of the relevant pre-
  emption principles and how they apply to this case.” Merck, 139 S.Ct. at 1681 (Thomas, J.,
  concurring). Justice Thomas would not find preemption here because, in his view, nothing
  prevented Merck from using the CBE process to unilaterally add a warning to the
  Precautions section, even though the FDA retains the authority to reject a CBE amendment
  if it lacks causation. Id. at 1683. Further, according to Justice Thomas, even if Merck believed


                                                18
Case 1:08-cv-00008-KMW-MJS          Document 4541        Filed 03/23/22     Page 19 of 87 PageID:
                                          86244



         The Supreme Court remanded to the Third Circuit with instructions “to

  consider fully the standards we have described.” Id. at 1680-81. Rather than deciding

  the issue, the Third Circuit remanded to this Court “to determine in the first instance

  whether the plaintiffs’ state law claims are preempted by federal law.” Order at 1,

  No. 14-1900 (3d Cir. Nov. 25, 2019). The Third Circuit also instructed this Court “to

  determine the effect of the FDA’s [CRL] and other communications with Merck on

  the issue of whether such agency actions are sufficient to give rise to preemption.” Id.

         E.     The Parties’ Arguments on Remand

         The issue on remand is the same as it was eight years ago: whether the CRL

  “prohibited [Merck] from adding any and all warnings to the drug label that would

  satisfy state law.” Merck, 139 S.Ct. at 1678. Plaintiffs answer in the negative, and

  advance several arguments, some of which merely restate their prior positions. First,

  they reiterate that Merck did not fully inform the FDA of the risks of Fosamax use.

  Pl. Br., at 30-35. Second, relying on Justice Thomas’ concurrence, they argue for the




  that the FDA would have ultimately rejected a CBE amendment, that “hypothetical” would
  not constitute “[l]aw with pre-emptive effect,” because “the possibility of impossibility is not
  enough.” Id. Justice Thomas also rejected the preemptive effect of a CRL to the extent that
  such a letter is not a final agency action. Id. at 1682. In response, Justice Alito wrote
  separately to ensure that the Court’s “discussion of the law and the facts” are not “misleading
  on remand.” Id. at 1684 (Alito, J., concurring in the judgment). Chief Justice Roberts and
  Justice Kavanaugh joined his opinion. Justice Alito explained that “a statutory provision
  enacted after the events in [Wyeth] [ ] may have an important bearing” on this case, namely
  21 U.S.C. § 355(o)(4)(A), which requires the FDA to initiate a label change under certain
  circumstances, but does not require it “to communicate to the relevant drug manufacturer
  that a label change is unwarranted; instead, the FDA could simply consider the new
  information and decide not to act.” Id. Justice Alito then detailed the back and forth between
  Merck and the FDA to counter the majority’s “one-sided account,” stating “for years the FDA
  was: aware of this issue, communicating with drug manufacturers, studying all relevant
  information, and instructing healthcare professionals and patients alike to continue to use
  Fosamax as directed.” Id. at 1685-86.


                                                19
Case 1:08-cv-00008-KMW-MJS       Document 4541      Filed 03/23/22    Page 20 of 87 PageID:
                                       86245



  first time during this litigation that the CRL does not carry preemptive effect because

  it is not a final agency action, id. at 12-15, 27; however, they primarily dispute the

  meaning and scope of the CRL. They begin by arguing that Merck did not propose a

  warning that would have been adequate under state law in the first place. According

  to Plaintiffs, Merck’s PAS emphasized “garden variety” stress fractures, which are

  scientifically different from the more serious atypical femoral fractures. Id. at 16-19,

  24 n.4. Because of this focus, Plaintiffs posit that the FDA could not have rejected a

  warning about atypical femoral fractures at all, but only one about commonplace

  stress fractures. So construed, Plaintiffs advance that the CRL does not constitute

  “clear evidence” that the FDA would have prohibited any and all warnings to

  Fosamax, despite the Agency’s other communications from the same time period. Id.

  at 24-30.

        Merck maintains that it has always fully informed the FDA of the risks of

  Fosamax, particularly the risk of developing atypical femoral fractures. Def. Br., at

  17-20; Def. Rep. Br., at 1-4. Merck also calls Plaintiffs’ position that the CRL lacks

  preemptive power “idiosyncratic” and “unsupported” by law. Def. Br., at 28-30; Def.

  Rep. Br., at 11-12. Further, as to the meaning and scope of the CRL, Merck argues

  that its proposed warning was “perfectly” adequate under state law, see Def. Br., at

  5-6, 14, 20-24, and the FDA rejected it for insufficient causal evidence linking

  bisphosphonate use to atypical femoral fractures, not because of the garden variety

  “stress fracture” language on which Plaintiffs improperly focus. Def. Br., at 23-27;

  Def. Rep. Br., at 10-11. As explained by Merck, to the extent that the basis for the




                                            20
Case 1:08-cv-00008-KMW-MJS         Document 4541       Filed 03/23/22     Page 21 of 87 PageID:
                                         86246



  CRL was the FDA’s skepticism of the underlying science regarding causal connection,

  there is necessarily clear evidence that the FDA would have rejected any and all

  changes to the Fosamax label. See 21 C.F.R. § 201.57(c)(6)(iii) (requiring “reasonable

  evidence of a causal association” to add a Precautions warning). Finally, even if the

  terms of the CRL themselves are unclear, Merck maintains that the letter constitutes

  clear evidence when construed in light of the FDA’s other communications from

  around the same time. Def. Br., at 8-9, 21-23, 26; Def. Rep. Br., at 12-13, 15.

         In short, Merck submits that the CRL conveyed that the FDA would not have

  approved any warning about atypical femoral fractures because of its then-existing

  perspective on the causal connection between such fractures and Fosamax use.

  Plaintiffs, on the other hand, take the position that the FDA had conveyed a far more

  limited message in the CRL: Merck’s particular warning, as worded, was

  unacceptable, but the FDA might have approved different language had Merck

  proposed it through a revised PAS or a CBE amendment.

                                STANDARD OF REVIEW 8

         Summary judgment is appropriate “if the pleadings, depositions, answers to

  interrogatories, and admissions on file, together with the affidavits, if any, show that




  8      While the parties’ briefing does not discuss the legal standard the Court should apply
  on remand, they agreed that Rule 56 was the proper framework by which Judge Pisano
  resolved the dispositive issues presented by Defendant’s preemption defense in the first
  instance. Fosamax, 852 F.3d at 281 (“Although both sides disputed the propriety of the show-
  cause procedure and the substance of Merck’s preemption arguments, the parties and the
  District Court all agreed that Federal Rule of Civil Procedure 56 ‘provides the exclusive
  mechanism by which the Court can resolve the dispositive issues presented by Merck's
  preemption defense before trial(s).’”). Accordingly, because the Third Circuit remanded that
  very issue to me, I will apply that same standard, here.


                                               21
Case 1:08-cv-00008-KMW-MJS        Document 4541       Filed 03/23/22   Page 22 of 87 PageID:
                                        86247



  there is no genuine issue as to any material fact and that the moving party is entitled

  to a judgment as a matter of law.” Fed. R. Civ. P. 56(c). A factual dispute is genuine

  only if there is “a sufficient evidentiary basis on which a reasonable [factfinder] could

  find for the non-moving party,” and it is material only if it has the ability to “affect

  the outcome of the suit under governing law.” Kaucher v. Cty. of Bucks, 455 F.3d 418,

  423 (3d Cir. 2006); see also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

  Disputes over irrelevant or unnecessary facts will not preclude a grant of summary

  judgment. Anderson, 477 U.S. at 248. “In considering a motion for summary

  judgment, a district court may not make credibility determinations or engage in any

  weighing of the evidence; instead, the non-moving party's evidence ‘is to be believed

  and all justifiable inferences are to be drawn in his favor.’” Marino v. Indus. Crating

  Co., 358 F.3d 241, 247 (3d Cir. 2004) (quoting Anderson, 477 U.S. at 255); see also

  Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986); Curley

  v. Klem, 298 F.3d 271, 276-77 (3d Cir. 2002).

        The party moving for summary judgment has the initial burden of showing the

  basis for its motion. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). “If the moving

  party will bear the burden of persuasion at trial, that party must support its motion

  with credible evidence ... that would entitle it to a directed verdict if not controverted

  at trial.” Id. at 331. On the other hand, if the burden of persuasion at trial would be

  on the nonmoving party, the party moving for summary judgment may satisfy Rule

  56’s burden of production by either (1) “submit[ting] affirmative evidence that

  negates an essential element of the nonmoving party’s claim” or (2) demonstrating




                                             22
Case 1:08-cv-00008-KMW-MJS       Document 4541      Filed 03/23/22   Page 23 of 87 PageID:
                                       86248



  “that the nonmoving party’s evidence is insufficient to establish an essential element

  of the nonmoving party's claim.” Id. Once the movant adequately supports its motion

  pursuant to Rule 56(c), the burden shifts to the nonmoving party to “go beyond the

  pleadings and by her own affidavits, or by the depositions, answers to interrogatories,

  and admissions on file, designate specific facts showing that there is a genuine issue

  for trial.” Id. at 324; see also Matsushita, 475 U.S. at 586; Ridgewood Bd. of Ed. v.

  Stokley, 172 F.3d 238, 252 (3d Cir. 1999). In deciding the merits of a party’s motion

  for summary judgment, the court’s role is not to evaluate the evidence and decide the

  truth of the matter, but to determine whether there is a genuine issue for trial.

  Anderson, 477 U.S. at 249. Credibility determinations are the province of the

  factfinder. Big Apple BMW, Inc. v. BMW of N. Am., Inc., 974 F.2d 1358, 1363 (3d Cir.

  1992). There can be “no genuine issue as to any material fact,” however, if a party

  fails “to make a showing sufficient to establish the existence of an element essential

  to that party’s case, and on which that party will bear the burden of proof at trial.”

  Celotex, 477 U.S. at 322-23. “[A] complete failure of proof concerning an essential

  element of the nonmoving party’s case necessarily renders all other facts immaterial.”

  Id. at 323; Katz v. Aetna Cas. & Sur. Co., 972 F.2d 53, 55 (3d Cir. 1992).

                                     DISCUSSION

     I. Scope of Remand

        The Third Circuit’s mandate to this Court is clear: to determine whether

   Plaintiffs’ state law failure-to-warn claims are preempted by federal law under the

   standards described by the Supreme Court in Merck. Order at 1, No. 14-1900 (3d




                                            23
Case 1:08-cv-00008-KMW-MJS       Document 4541      Filed 03/23/22    Page 24 of 87 PageID:
                                       86249



   Cir. Nov. 25, 2019). In considering that question, the Third Circuit also instructed

   this Court to determine whether the FDA’s CRL and other communications with

   Defendant are sufficient to give rise to preemption. Id.

        As a preliminary matter, I note that on appeal, the Third Circuit vacated in

   full, Judge Pisano’s underlying decision granting summary judgment in favor of

   Defendant, and the Supreme Court remanded with instructions to “consider fully”

   its elaboration of Wyeth’s clear evidence standard. Although I will conduct a de novo

   review of the legal issues and record, that does not necessarily mean, however, that

   Judge Pisano’s factual findings will be ignored. In fact, my decision, here, will refer

   to Judge Pisano’s opinion—at least as it relates to certain facts that are generally

   not in dispute. Indeed, Judge Pisano held a full trial on the merits, heard expert

   testimony, made numerous factual findings related to the narrow legal question on

   appeal in Merck, decided the preemption inquiry, and unsurprisingly, the evidence

   before me is virtually identical to the evidence presented then. To be certain, in

   2013, Judge Pisano answered the preemption question posed to the Court on

   remand, here, consistent with the standard set forth in Wyeth—a standard that the

   Supreme Court did not overrule, but merely clarified and expounded upon in Merck.

   See infra. Indeed, Merck decided the narrow question of whether a jury or judge

   determines preemption—agreeing with Judge Pisano that it was a question for a

   judge. That issue constitutes new law, which I take as the law of this case now.

   Bankers Trust Co. v. Bethlehem Steel Corp., 761 F.2d 943, 950 (3d Cir. 1985). But,

   what remains is exactly what Judge Pisano had to decide eight years ago: assess “in




                                            24
Case 1:08-cv-00008-KMW-MJS           Document 4541        Filed 03/23/22      Page 25 of 87 PageID:
                                           86250



      the first instance” whether “the FDA would have rejected a change,” considering any

      relevant factual disputes along the way. For these reasons, I will refer to Judge

      Pisano’s factual findings where appropriate.

        II. Preemption

           “A fundamental principle of the Constitution is that Congress has the power to

  preempt state law.” Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363, 372 (2000).

  “Preemption follows automatically by the operation of the Supremacy Clause,” Wyeth,

  555 U.S. at 624 (Alito, J., concurring in the judgment), which “invalidates state laws

  that interfere with, or are contrary to, federal law.” Hillsborough County, Florida v.

  Automated Medical Laboratories, Inc., 471 U.S. 707, 712 (1985) (quotations omitted).

  Federal law can preempt state law in three ways: (1) express preemption, (2) field

  preemption, and (3) conflict preemption. 9 Farina v. Nokia Inc., 625 F.3d 97, 115 (3d

  Cir. 2010). Both parties agree that the issue in this case is conflict preemption, which

  exists “where it is impossible for a private party to comply with both state and federal

  requirements.” Sprietsma v. Mercury Marine, a Div. of Brunswick Corp., 537 U.S. 51,

  64 (2002) (quotations omitted); PLIVA, Inc. v. Mensing, 564 U.S. 604, 620 (2011) (“The

  question . . . is whether the private party could independently do under federal law




  9       Federal regulations with the force of law preempt state laws in the same manner as
  federal statutes. See, e.g., Geier v. American Honda Motor Co., 529 U.S. 861 (2000); Fellner
  v. Tri-Union Seafoods, L.L.C., 539 F.3d 237, 243 (3d Cir. 2008) (“Where Congress has
  delegated the authority to regulate a particular field to an administrative agency, the
  agency’s regulations issued pursuant to that authority have no less preemptive effect than
  federal statutes, assuming those regulations are a valid exercise of the agency’s delegated
  authority.”). There is no dispute here that preemption, if appropriate, applies to all forms of
  state law, including civil actions based on state law, such as Plaintiffs’ failure-to-warn claims.
  Holk v. Snapple Beverage Corp., 575 F.3d 329, 331 (3d Cir. 2009).


                                                 25
Case 1:08-cv-00008-KMW-MJS        Document 4541       Filed 03/23/22    Page 26 of 87 PageID:
                                        86251



  what state law requires of it.”); Klotz v. Celentano Stadtmauer & Walentowicz LLP,

  991 F.3d 458, 463 (3d Cir. 2021).

         Conflict, or impossibility, preemption “is a demanding defense” in the drug

  labeling context. Wyeth, 555 U.S. at 573. Essentially, a defendant must show that it

  could not have unilaterally changed its label in any way to add the warning required

  by state law. Id. at 569-71; Sikkelee v. Precision Airmotive Corp., 822 F.3d 680, 703-

  704 (3d Cir. 2016); Knight v. Boehringer Ingelheim Pharmaceuticals, Inc., 984 F.3d

  329, 337 (4th Cir. 2021) (“A state law challenge to FDA-approved warnings, including

  a tort action under state law, can [ ] proceed only when the defendant had the

  unilateral ability to change that labeling; otherwise, the claim is preempted.”).

         The “possibility of impossibility [is] not enough” to establish preemption,

  PLIVA, 564 U.S. at 624 n.8 (quotations omitted); Rice v. Norman Williams Co., 458

  U.S. 654, 659 (1982) (rejecting “hypothetical” impossibility), and there is a

  “presumption against preemption,” Wyeth, 555 U.S. at 595 n.3, which applies with

  special force in fields involving traditional state police powers. Medtronic, Inc., v.

  Lohr, 518 U.S. 470, 485 (1996) (“In all pre-emption cases, and particularly in those in

  which Congress has ‘legislated . . . in a field which the States have traditionally

  occupied,’ . . . [courts] ‘start with the assumption that the historic police powers of the

  States were not to be superseded by the Federal Act unless that was the clear and

  manifest purpose of Congress.’”). On the other hand, “the possibility of possibility” is

  not sufficient to defeat preemption. PLIVA, 564 U.S. at 624 n.8.




                                              26
Case 1:08-cv-00008-KMW-MJS         Document 4541       Filed 03/23/22    Page 27 of 87 PageID:
                                         86252



         Rather, under Wyeth, if there is “clear evidence that the FDA would not have

  approved a change” to a drug’s label, then it is impossible to comply with both federal

  and state law, and a plaintiff’s failure-to-warn claims are preempted. 555 U.S. at 571.

  To establish clear evidence, a drug manufacturer must “show that it fully informed

  the FDA of the justifications for the warning required by state law and that the FDA,

  in turn, informed the drug manufacturer that the FDA would not approve changing

  the drug’s label to include that warning.” Merck, 139 S.Ct. at 1678.

         A.     Merck Did Not Repudiate Wyeth 10

         At the outset, Plaintiffs contend that Merck repudiates Wyeth’s “premise that

  a manufacturer can show preemption by arguing that the FDA would have rejected

  a warning that it did not actually reject.” Pl. Br., at 13-14 (emphasis in original). In

  Plaintiffs’ view, impossibility preemption now “requires an affirmative showing that

  the FDA took ‘action[]’ to ‘prohibit[] the drug manufacturer from adding any and all

  warnings to the drug label that would satisfy state law.’” Pl. Br., at 14 (quoting Merck,

  139 S.Ct. at 1676, 1678).

         Plaintiffs’ position has some facial appeal, but it is ultimately specious. In

  Wyeth, the phrase “would not have approved” implies that a drug manufacturer may

  prove preemption without showing that it ever proposed or pursued a label change.

  Plaintiffs argue, however, that Merck’s phrasing of the law should be read to mean



  10     In Wyeth, the Supreme Court rejected a drug manufacturer’s preemption defense after
  an antinausea drug caused a patient to develop gangrene. Notably, there was no prior agency
  action in that case. The question was whether the FDA would have rejected a CBE
  amendment had the manufacturer attempted to pursue one. However, Wyeth does not
  instruct how this Court should interpret the meaning of an actual FDA decision on labeling,
  such as the CRL here that rejected Merck’s proposed warning, which is the crux of this case.


                                              27
Case 1:08-cv-00008-KMW-MJS          Document 4541        Filed 03/23/22     Page 28 of 87 PageID:
                                          86253



  that a manufacturer must have actually requested a label change that the FDA then

  expressly rejected. 11 Specifically, Plaintiffs rely exclusively on the Supreme Court’s

  finding that to establish preemption, a manufacturer “is required to show that it fully

  informed the FDA of the justifications for the warning required by state law and that

  the FDA, in turn, informed the drug manufacturer that the FDA would not approve

  changing the drug’s label to include that warning.” Merck, 139 S.Ct. at 1678.

  According to Plaintiffs, “anything less is insufficient.” Pl. Br., at 14.

         The Seventh Circuit has declined to view Merck in that manner, and I find that

  court’s reasoning persuasive. Dolin v. GlaxoSmithKline, 951 F.3d 882, 890-91 (7th

  Cir. 2020). Indeed, the court, there, observed, in the context of a Rule 60(b) motion,

  that Merck “explicitly grounded its analysis in the Court’s holdings in Wyeth . . . .

  began by citing the Wyeth ‘clear evidence’ standard[,] and formulated the question for

  decision in terms of the Wyeth framework,” and further, that Merck uses “the

  language of ordinary evolution” rather than ‘reversal and overruling.” The Tenth

  Circuit ruled similarly. Cerveny v. Aventis, Inc., 783 Fed. App’x. 804 n.8 (10th Cir.

  2019) (dismissing, in the context of a Rule 28(j) letter, the contention that “only

  labeling changes sought by the manufacturer can lead to preemption.”)

         The Third Circuit also had an opportunity to reinterpret Wyeth in the manner

  proposed by Plaintiffs, but chose not do so in light of the facts before it. In re Avandia



  11     Of course, this is precisely the factual scenario of this case; that is, Defendant claims
  that the CRL issued by the FDA expressly rejected Defendant’s proposed warning regarding
  atypical femoral fractures. And, the primary dispute between the parties is whether the CRL
  could be so interpreted as to have rejected Defendant’s proposed warning based on the causal
  connection between the use of Fosamax and atypical femoral fractures.


                                                28
Case 1:08-cv-00008-KMW-MJS       Document 4541      Filed 03/23/22   Page 29 of 87 PageID:
                                       86254



  Marketing, Sales and Prod. Liab. Litig., 945 F.3d 749, 759 (3d Cir. 2019) (stating that

  it “need not speculate regarding the possibility that the FDA would have rejected the

  proposed warning” because the FDA in fact “ordered” one) (emphasis in original). In

  dozens of district court cases since, not one court has interpreted Merck to establish

  a new standard for impossibility preemption requiring actual agency or manufacturer

  action. See, e.g., In re Incretin-Based Therapies Prod. Liab. Litig., No. 13-2452, 2021

  WL 880316 (S.D. Cal. Mar. 9, 2021) (“Plaintiffs also contend that [Merck] limited

  preemption to cases where the manufacturer has proposed a label change. The Court,

  however, does not read [Merck] so narrowly. Rather, the Court finds that [Merck]

  simply reiterated the lesson in Wyeth that the availability of the CBE label change

  process makes it such that a manufacturer will not ‘ordinarily’ be able to show an

  irreconcilable conflict between state and federal law.”); Crockett v. Luitpold

  Pharmaceuticals, Inc., No. 19-276, 2020 WL 433367, at *6 (E.D. Pa. Jan. 28, 2020)

  (“The defense of impossibility preemption is premised on a contention that a federal

  regulation would have prohibited the additional warnings that the plaintiff alleges

  state law requires.”); Yamagata v. Reckitt Benckiser LLC, 445 F. Supp. 3d 28, 33 (N.D.

  Cal. 2020) (“The preemption analysis in [Merck] turned on whether the FDA would

  have approved a change to the drug label.”); McGrath v. Bayer HealthCare

  Pharmaceuticals, Inc., 393 F. Supp. 3d 161, 171 (E.D.N.Y. 2019) (finding preemption

  because the plaintiff “has not pleaded a plausible claim that the CBE regulation

  would have permitted [the defendant] to change the [drug] label”); Silverstein v.

  Boehringer Ingelheim Pharmaceuticals, Inc., No. 19-81188, 2020 WL 6110909, at *9




                                            29
Case 1:08-cv-00008-KMW-MJS       Document 4541      Filed 03/23/22    Page 30 of 87 PageID:
                                       86255



  (S.D. Fla. Oct. 7, 2020) (“[Preemption] can be satisfied [under Merck] even if the

  labeling change has not been presented to, and rejected by, the FDA.”).

        As such, based on these authorities, the “universal” standard that a

  manufacturer need not submit a PAS and CBE to the FDA to preserve its preemption

  defense remains intact after Merck. See, e.g., Cerveny v. Aventis, Inc., 155 F. Supp. 3d

  1203, 1213-16 (D. Utah Mar. 16, 2016) (“Courts have universally rejected the notion

  that Wyeth requires a showing that the manufacturer attempted to apply the

  warning suggested by the plaintiff but that the labeling change was ultimately

  rejected by the FDA.”); In re Zofran (Ondansetron) Prod. Liab. Litig., No. 15-2657,

  2021 WL 2209871, at *32 (D. Mass. June 1, 2021) (“Multiple courts have found

  [conflict] preemption where the manufacturer had not requested the precise warning

  sought by the plaintiffs when the FDA had nonetheless made it clear that it would

  not accept that label change.”); Ridings v. Maurice, 444 F. Supp. 3d 973, 998 (W.D.

  Mo. 2020) (finding the second prong of Merck to be satisfied when all of the

  information justifying the proposed warning had been given to the FDA and the FDA

  did not revise the label to add the warning); Seufert v. Merck Sharp & Dohme Corp.,

  187 F. Supp. 3d 1163, 1170 (S.D. Cal. May 11, 2016) (“[M]anufacturer submission of

  a proposed labeling change is relevant, but not dispositive, in determining whether a

  defendant can establish conflict preemption.”).

        In the end, it is, of course, the Supreme Court’s “prerogative alone to overrule

  one of its precedents.” State Oil v. Khan, 522 U.S. 3, 20 (1997). But it is difficult to

  reconcile the Court doing so when no party disputed Wyeth’s clear evidence standard




                                            30
Case 1:08-cv-00008-KMW-MJS        Document 4541       Filed 03/23/22    Page 31 of 87 PageID:
                                        86256



  on appeal, 12 when the question before the Court was who should apply that standard,

  not whether the standard should survive, and when the Court itself held that its

  decision “flow[ed] from [its] precedents.” 139 S.Ct. at 1678 (emphasis added).

  Accordingly, like all other courts having considered the issue, I find that Merck does

  not overrule Wyeth.

        B.     Prong One of Impossibility Preemption

        I now turn to the substance of the parties’ dispute. To establish impossibility

  preemption, a drug manufacturer must first show that it “fully informed the FDA of

  the justifications for the warning required by state law.” Merck, 139 S.Ct. at 1678. I

  find that Defendant has met this standard; indeed, Judge Pisano found as much, the

  Third Circuit agreed, and the Supreme Court never questioned that finding on

  appeal. I reach the same conclusion based on my independent evaluation of the

  record.

        After a full trial on the merits, including extensive expert testimony, Judge

  Pisano found no evidence that “Defendant failed to provide all the information it had

  . . . to the FDA.” Glynn, 951 F. Supp. 2d at 703, 705. After a post-trial opportunity for

  Plaintiffs to present further proof, Judge Pisano again rejected their claim as

  “speculation.” OTSC Opinion, 2014 WL 1266994, at *14, *17. The Third Circuit

  characterized the record in more certain terms: “Merck kept the FDA informed of the

  scores of case studies, reports, and articles . . . published documenting possible

  connections between long-term bisphosphonate use and atypical femoral fractures,”


  12    Tellingly, Plaintiffs themselves argued on appeal that Wyeth “was correctly decided.”
  U.S. Merits Brief, at *25-28.


                                              31
Case 1:08-cv-00008-KMW-MJS         Document 4541       Filed 03/23/22    Page 32 of 87 PageID:
                                         86257



  and “[i]t is undisputed that the FDA was aware of the possible link between Fosamax

  and atypical fractures well before September 2010.” Fosamax, 852 F.3d at 275, 296.

  The Supreme Court did not consider—let alone challenge—these factual findings on

  appeal. Merck, 139 S.Ct. at 1680.

         Plaintiffs disagree, pointing first to the way in which the Supreme Court’s

  summary of the facts characterizes what the FDA knew and when. 13 See, e.g., Merck,

  139 S.Ct. at 1673-76. But that is insufficient to support the inference that the Court

  actually found that Merck did not fully inform the FDA of the risks of Fosamax. For

  one, the Court is “an appellate tribunal, ill-equipped for the task of factfinding,” and

  prong one of impossibility preemption is a fact-intensive inquiry involving a record

  exceeding one-thousand pages. Ohio v. Wyandotte Chems. Corp., 401 U.S. 493, 498

  (1971). More to the point, the Court does not “lightly overturn the concurrent findings

  of the two lower courts” on factual matters, in the background section of an opinion,

  especially not without any explanation, and when such findings were never on review



  13      Generally speaking, the Supreme Court used a harsher tone when describing Merck’s
  actions throughout the labeling process. Merck, 139 S.Ct. at 1673-76. The Court stated that
  at the time the FDA first approved the Fosamax label in 1995, Merck scientists were aware
  of the risk of atypical femoral fractures, but “perhaps because [Merck’s] concerns were only
  theoretical, the FDA approved Fosamax’s label without requiring any mention of this risk.”
  Id. at 1674 (emphasis added). Then, in 2008, after additional scientific evidence arose
  connecting Fosamax to atypical femoral fractures, the Court explained that Merck applied to
  the FDA for preapproval to change the drug’s label, attempting to add language to both the
  Adverse Reactions and the Precautions sections of the label. Id. The Court emphasized that
  although the FDA denied Merck’s request, it also invited the manufacturer to “resubmit” its
  application to “fully address all the deficiencies” identified by the FDA’s review. Id.
  According to the Court, however, Merck “instead withdrew its application,” choosing to make
  the changes to the Adverse Reactions section through the CBE process. Id. Moreover, with
  respect to the Fosamax label’s eventual warning about atypical femoral fractures, the Court
  commented that Merck was “initially resistant” to the change, because it failed to reference
  “stress fractures.” Id. at 1674-75.


                                              32
Case 1:08-cv-00008-KMW-MJS        Document 4541       Filed 03/23/22    Page 33 of 87 PageID:
                                        86258



  in the first place. Glossip v. Gross, 576 U.S. 863, 882 (2015); Exxon Co., U.S.A. v.

  Sofec, Inc., 517 U.S. 830, 841 (1996) (explaining that the Court “‘cannot undertake to

  review concurrent findings of fact by two courts below in the absence of a very obvious

  and exceptional showing of error’”) (quoting Graver Tank & Mfg. Co. v. Linde Air

  Products Co., 336 U.S. 271, 275 (1949)); cf. Easley v. Cromartie, 532 U.S. 234, 242

  (2001) (doing so only when “there is no intermediate court,” “we are the only court of

  review,” “the trial here at issue was not lengthy and the key evidence consisted

  primarily of documents and expert testimony,” and “[c]redibility evaluations played

  a minor role”). Saliently, Justice Alito concurred in part to ensure that the majority’s

  “discussion . . . of the facts is not misleading.” Merck, 139 S.Ct. at 1684. On this point,

  Justice Alito wrote, “[r]esolution of the legal question that the Court decides does not

  require much discussion of the facts, but . . . . the Court provides a one-sided account

  . . . [that] omits any mention of the extensive communication between Merck and the

  FDA during the relevant period.” Id. at 1685. In the end, Plaintiffs’ position cannot

  be reconciled with the Court’s explicit decision to remand with instructions to apply

  its standards anew. Cf. Farrar v. Hobby, 506 U.S. 103 (1992) (deciding the merits

  rather than remanding); McCkeskey v. Zant, 499 U.S. 467 (1991) (same).

        Plaintiffs then argue that the standard Judge Pisano applied in Glynn is

  somehow less demanding than Merck’s requirement that Defendant “fully” inform the

  FDA. Pl. Br., at 32-34 (“Judge Pisano did not apply the Supreme Court’s standard [in

  Merck].”). But Plaintiffs never explain Judge Pisano’s supposedly erroneous

  standard, the relevant difference between that standard and the Merck standard, or




                                              33
Case 1:08-cv-00008-KMW-MJS      Document 4541      Filed 03/23/22   Page 34 of 87 PageID:
                                      86259



  why such a difference would be legally significant. Independently, I do not see any

  meaningful difference between what Merck demands and what Judge Pisano

  determined. Under Merck, the basic inquiry, which Judge Pisano applied, is whether

  the FDA had “all the information it deemed necessary to decide whether to approve

  or reject the proposed warning at the time it issued the [CRL].” In re Avandia, 945

  F.3d at 759 (emphasis removed). Indeed, Merck itself phrases the inquiry in a

  substantially similar way: “the litigants may dispute whether the drug manufacturer

  submitted all material information to the FDA.” 139 S.Ct. at 1680.

        In any event, revisiting this question as a matter of first impression, as

  instructed by the Third Circuit, I reach the same result as Judge Pisano. Between its

  formal safety updates, periodic emails, and PAS, Defendant clearly and fully

  informed the FDA of the panoply of risks associated with long-term Fosamax use and

  the justifications for its proposed label change. Having culled through the extensive

  record, I summarize below what Defendant submitted to the FDA.            Defendant

  repeatedly and voluntarily sent relevant articles to the FDA between 1992 and 2010.

  See Fosamax, 852 F.3d at 275 (citing A1774, A1258, A1237, A1243); Def. Rep. Br., Ex.

  13, at A1928-33; Fosamax, 862 F.3d at 275 (further describing communications).

  Indeed, Defendant’s 165-page March 2008 safety update, which surveyed medical

  studies, journal publications, and internal data compiled between July 16, 2007 and

  January 15, 2008, included numerous pages on atypical femoral fractures. Def. Rep.

  Br., Ex. 14. That safety update provided (1) an overview of three published safety

  studies identified in the medical literature describing new information regarding the




                                           34
Case 1:08-cv-00008-KMW-MJS       Document 4541      Filed 03/23/22    Page 35 of 87 PageID:
                                       86260



  connection between prolonged alendronate 14 use and low-energy or atypical femoral

  fractures, (2) a discussion of eight publications on long-term therapy with

  bisphosphonates, including the link between prolonged bisphosphonate therapy and

  atypical low-energy femoral fractures, and (3) a summary of post-marketing data on

  atypical low-energy fractures associated with prolonged bisphosphonate therapy in

  response to the FDA’s request for such an update. Id. at A2594-2613.

        With respect to the three safety studies and various publications, Merck

  cautioned that although they contain important clinical information, some of the

  studies and publications found no “obvious defects in mineralization or bone quality

  after use of the drug.” Id. at A2595. However, Merck did highlight one particular

  study that “raised the possibility of a link between prolonged bisphosphonate therapy

  and atypical low-energy non-vertebral fractures, predominantly with femoral

  diaphyseal location.”   Id.   The authors of that study attributed this pattern of

  fractures to severely suppressed bone turnover that may develop during long-term

  alendronate therapy. Id. Similarly, several of the publications referenced in the safety

  update also hypothesized about a link between prolonged bisphosphonate therapy

  and the atypical low-energy fractures suffered by Plaintiffs. Id. at A2597-98. Finally,

  the safety update provided a trove of data, compiled from Merck’s Worldwide Adverse

  Experience System database using search terms like “bone disorder,” “stress

  fracture,” “femur fracture,” and “bone formation decreased.” Id. at A2598-2613.

  Using these terms, Merck generated 175 post-marketing reports, providing insight



  14    Alendronate is a type of bisphosphonate.


                                             35
Case 1:08-cv-00008-KMW-MJS        Document 4541       Filed 03/23/22   Page 36 of 87 PageID:
                                        86261



  into patients treated with alendronate sodium from October 1, 2005 through

  December 31, 2007. Id. at A2599. Specifically, the data from the post-marketing

  reports included, inter alia, the age and gender of the patient, location of the fracture,

  and the duration of alendronate therapy. Id. at A2609-10. While Merck commented

  that a review of the post-marketing reports did not provide “clear evidence of a causal

  link” between alendronate therapy and atypical low-energy femoral fractures, it

  committed to further monitor future reports for these types of fractures. Id. at A2613.

        In June 2008, Defendant “promptly complied” with the FDA’s request for

  further investigations that Merck had conducted and reports Merck had received.

  Fosamax, 862 F.3d at 275. And, what is more, Defendant’s September 2008 PAS not

  only cited nine articles reporting cases of low-energy femoral fractures in Fosamax

  users, but included a clinical overview in which Defendant itself asserted a

  statistically significant association. Cf. Wyeth, 555 U.S. at 272-73 (noting that the

  manufacturer never “supplied the FDA with an evaluation or analysis concerning the

  specific dangers” at issue); In re Taxotere (Docetaxel) Prod. Liab. Litig., No. 16-17039,

  2020 WL 7480623, at *11 (E.D. La. Dec. 18, 2020) (finding that the FDA was not “fully

  informed” because its limited knowledge of the risk and repeated requests to the

  manufacturer for information indicated that the manufacturer was not “making an

  ‘earnest attempt’ to keep the FDA informed”) (citations omitted). Despite this profuse

  evidence of information sent to the FDA, Plaintiffs, on remand, insist that more

  evidence was needed, and that Merck misled the FDA with the information it sent.




                                             36
Case 1:08-cv-00008-KMW-MJS       Document 4541      Filed 03/23/22    Page 37 of 87 PageID:
                                       86262



  Having reviewed, myself, those documents, I find no basis in the record to reach that

  conclusion.

        In that regard, Plaintiffs’ evidence that the FDA was somehow left in the dark

  about the use of Fosamax and the potential risk of atypical femoral fractures is

  unpersuasive. Plaintiffs begin by offering six specific studies between 1995 and 2010

  which purport to show a connection between long-term bisphosphonate use and

  atypical femoral fractures. The flagrant flaw with Plaintiffs’ proffer, however, is that

  Defendant cited all these same studies in its communications with the FDA. Plaintiffs

  then take issue with minute details of the data Defendant submitted to the FDA,

  which they insist shows that Defendant “provid[ed] misleading information . . . [,]

  describ[ed] atypical femoral fractures inaccurately and conflat[ed] them with stress

  fractures.” Pl. Br., at 31-32. Specifically, Plaintiffs maintain that Defendant (1) did

  not “provide the FDA with any possible pathogenesis for [atypical femoral fractures],”

  id., Ex. 3, at A884; (2) stated in its clinical overview that “fractures with similar

  clinical features had previously been reported in patients not taking Fosamax,” id. at

  A881; (3) “identified risk factors that simply were not associated with [atypical

  femoral fractures],” id.; and (4) failed to provide “additional information” after

  receiving the CRL in May 2009, “should have provided [the clarification which came

  from the September 2010 Task Force Report] much earlier,” and “rebuffed the FDA’s

  repeated pleas for further engagement” prior to the Task Force Report. Pl. Br., at 33-

  34. Based on the record before me, I disagree, and I address each of these,

  individually.




                                            37
Case 1:08-cv-00008-KMW-MJS        Document 4541      Filed 03/23/22    Page 38 of 87 PageID:
                                        86263



        Pathogenesis. Plaintiffs first argue that Defendant did not provide the FDA

  with any possible pathogenesis, the manner of development of a disease, for atypical

  femoral fractures. The record belies this assertion. Defendant repeatedly indicated

  how Fosamax might cause the very injury Plaintiffs suffered. See, e.g., Def. Br., Ex.

  1, at A2757 (mentioning “[s]everely suppressed bone turnover”); id. at A2754

  (describing “bone biopsy results” which “indicated low bone turnover”); Def. Rep. Br.,

  Ex. 14, at A2597 (explaining, in its safety update, that the attached studies “related

  [atypical femoral fractures] to severely suppressed bone turnover that may develop

  during long-term” Fosamax use). In fact, in clinical trials three decades ago,

  Defendant informed the FDA that “antiresorptive agents may inhibit microdamage

  repair by preventing . . . bone resorption at the sites of microdamage,” Fosamax, 852

  F.3d at 275 (citing A1774), which was borne out to be the correct pathogenesis

  according to Plaintiffs’ own experts. Id., Ex. 3, at A880 (“[D]ecreased bone toughness

  can lead to stress fracture. Fosamax and other [bisphosphonates] can reduce the

  body’s ability to repair a stress fracture once it has begun, prior to complete fracture.

  This might explain why a large number of bisphosphonate-induced stress fractures

  go on to completion.”).    Indeed, on appeal, the Third Circuit acknowledged that

  “Merck kept the FDA informed” of the “scores of case studies, reports, and articles …

  published documenting possible connections between long-term bisphosphonate use

  and atypical femoral fractures.” Fosamax, 852 F.3d at 275. Plus, the FDA itself has

  since agreed that Merck “provided [the Agency] with the relevant scientific data about




                                             38
Case 1:08-cv-00008-KMW-MJS         Document 4541       Filed 03/23/22     Page 39 of 87 PageID:
                                         86264



  Fosamax’s risks.” FDA Brief as Amicus Curiae, at *14. 15 Thus, based on the record,

  this argument lacks merit.

         Clinical Features. Plaintiffs next argue that Defendant’s clinical overview

  indicated that some clinical features associated with Fosamax use presented in

  patients not taking Fosamax. To be clear, the PAS stated, in this regard, only that

  “stress fractures with similar clinical features also have occurred in patients not

  treated with bisphosphonates.” Based on this solitary statement, Plaintiffs suggest

  that by failing to communicate the “unique features” of atypical femoral fractures to

  the FDA, in particular, their “fracture pattern,” Defendant created a misleading

  impression that such fractures are “much more common in the absence of

  [bisphosphonates]” than they actually are. Pl. Opp. Br., at 32.

         Upon closer examination of the PAS’s clinical overview, however, the Court

  does not find Defendant’s submission misleading, deceptive, or ambiguous in any

  way. While the clinical overview identified that the fractures at issue here occur in a

  similar population of elderly individuals as other osteoporotic low-energy fractures,

  it also explained that “these [atypical femoral] fractures are less common than other

  osteoporotic low-energy fractures,” and only represent “about 6% of fractures of the

  femur.” In other words, Defendant informed the FDA that atypical femoral fractures

  are rare—even in elderly individuals who are taking Fosamax, and in that regard,

  there is no evidence in the record of Defendant “hiding-the-ball,” as suggested by

  Plaintiffs.   Moreover, while Plaintiffs take issue with the fact that the clinical


  14     The Court notes that the FDA filed this brief as amicus curiae in support of Defendant
  in Merck.


                                               39
Case 1:08-cv-00008-KMW-MJS       Document 4541      Filed 03/23/22   Page 40 of 87 PageID:
                                       86265



  overview states that atypical femoral fractures have been reported in patients not

  taking bisphosphonates, they fail to acknowledge the significant fact that the FDA-

  mandated warning itself observed that atypical femoral fractures occur in

  “osteoporotic patients who have not been treated with bisphosphonates.” Indeed, all

  along, the FDA questioned whether taking bisphosphonates for a prolonged period of

  time would actually lead to more atypical femoral fractures because other

  osteoporotic patients, who were not on such therapy, also suffer from the same

  fractures. This is the very causation-related concern that led the FDA to reject

  Merck’s PAS in the first place. See infra. In the end, even though the FDA approved

  an amendment regarding atypical femoral fractures, the warning includes the

  observation that osteoporotic patients, generally, have suffered such fractures. This

  fact, alone, dooms Plaintiffs’ claim that Defendant misled the FDA by pointing out

  the same.

        False Risk Factors. Plaintiffs contend further that Defendant emphasized

  “false risk factors” in materials sent to the FDA, the implication being that Merck

  “attempted to confound the true nature of the association between Fosamax and

  [atypical femoral fractures].” Pl. Br., at 32. Specifically, Plaintiffs argue that when

  the Task Force examined the actual data, some of the risk factors identified in the

  clinical overview and Defendant’s proposed warning, namely, “abnormally decreased

  bone mineral density associated with osteoporosis, long-term immobilization/disuse,

  and use of glucocorticoids, the presence of joint deformity, leg-length discrepancies,

  muscle weakness, and spasm with resulting alteration in force distribution across the




                                            40
Case 1:08-cv-00008-KMW-MJS        Document 4541       Filed 03/23/22   Page 41 of 87 PageID:
                                        86266



  joints,” “simply were not associated with [atypical femoral fractures].” Id., Ex. 3, at

  A882-83.

        But, Plaintiffs misconstrue the language of the PAS to support their position.

  Rather, the “Spontaneous Reports” section of the clinical overview examined 132

  reports where alendronate therapy was given for treatment of several conditions,

  looking specifically for evidence and information related to fractures. In part, it also

  discussed fracture risk factors, noting that 70 of the 132 reports provided sufficient

  information on the patient’s medical history, concurrent conditions, and concomitant

  medications. In that regard, however, the clinical overview did not express any

  conclusions, nor did it make any pronouncements. Instead, it provided a laundry list

  of pre-existing conditions, comorbidities, and other attributes, along with the

  percentage of the 70 patients whose medical history reported those conditions.

  Specifically, the clinical overview stated that musculoskeletal disorders, including

  osteoarthritis and rheumatoid arthritis, were reported in 38 of the 70 patients; the

  “presence of joint deformities, muscle imbalance, leg-length discrepancies, and

  change in activity” were “common” for this subgroup of patients; and 28 of the 70

  patients had a history of fracture. Indeed, the clinical overview also highlighted that

  only 10 of the 70 patients sustained atypical fractures following joint replacement or

  surgery, 17 patients had endocrine or metabolic disorders like diabetes mellitus and

  obesity, 10 patients reported malignant disease, and 3 patients were smokers. Thus,

  the purpose of the “Spontaneous Reports” section of the clinical overview was not to

  provide a definitive list of risk factors, but rather to provide a complete picture of the




                                             41
Case 1:08-cv-00008-KMW-MJS       Document 4541      Filed 03/23/22   Page 42 of 87 PageID:
                                       86267



  clinical landscape to physicians prescribing Fosamax. Def. Br., Ex. 1, A2754-A2756.

  It was not meant, as Plaintiffs have advanced, to obfuscate the seriousness of

  potential injuries or to mislead the FDA. The record reflects that Defendant clearly

  appreciated the seriousness, and sought to alert the FDA, of these fractures on

  numerous occasions. Id. at A2756 (“[C]onsidering the clinical importance of these

  fractures . . . it is important to include an appropriate statement about them.”). More

  compelling, the Task Force Report also concluded that certain fracture risk factors,

  unrelated to bisphosphonate use, exist; the Report specified that comorbid conditions

  are “Minor Features” of atypical femoral fractures, making them relevant rather than

  irrelevant. See infra.

        Failure to Provide Additional Information. Finally, Plaintiffs assert that

  Defendant deprived the FDA of relevant information between 2008 and 2009, such

  as information that the Task Force eventually reported, leaving the agency

  “uncertain about the nature of atypical femoral fractures” and “[d]elayed by

  [Defendant’s] inaction.” Pl. Opp. Br., at 34. This argument also lacks merit. For one,

  Plaintiffs do not point to any specific instance in which Defendant failed to provide

  any timely and relevant information, data, case studies, or evidence to the FDA, or

  rebuffed a request for further engagement. While Plaintiffs make much of

  Defendant’s decision to withdraw its PAS instead of applying for a formal meeting,

  they ignore the fact that Defendant did so at the FDA’s direction, Def. Br., Ex. 3, at

  A1498, that it was entitled to do so by statute, 21 U.S.C. § 314.70(c)(6)(iii)(A), and

  that it subsequently stated in its CBE amendment to the Adverse Reactions section




                                            42
Case 1:08-cv-00008-KMW-MJS       Document 4541      Filed 03/23/22   Page 43 of 87 PageID:
                                       86268



  that it still wished to discuss a Precautions warning. Id., Ex. 4, A2963-64 (“Merck

  believes that further discussion with regard to text for the Precautions section of the

  label . . . would be beneficial.”). Likewise, Plaintiffs’ contention that, Defendant

  should have provided the additional information contained in the Task Force Report

  before the Task Force independently reviewed it, fails. The Task Force relied on 24

  new case studies and 63 new articles after the FDA issued its CRL, according to

  Plaintiffs’ own experts. Pl. Br., Ex. 3, at A879 (“In 2008 [at the time of the PAS], 13

  of [ ] 37 published case series and reports [cited by the Task Force] were available to

  Merck. By May of 2009, 19 of [ ] 37 published case series were available to Merck.

  Additionally, the Task Force cited a total of 177 published or available articles and

  posters. Of those 177, 114 were available in 2008 [at the time of the PAS] or earlier

  and 120 were available before May of 2009.”). Additionally, Defendant knew that the

  FDA, outside experts, and other manufacturers were working “closely” during this

  period to study atypical femoral fractures, which obviated the need to continue

  forwarding piecemeal research, see, e.g., Pl. Br., Ex. 18, at A1508, particularly since

  the FDA specifically informed Merck that the Agency will continue to independently

  study and investigate the issues.

        If any doubt remains as to whether Defendant fully informed the FDA of the

  justification for its warning, the Agency itself agrees that Defendant “provided [it]

  with the relevant scientific data about Fosamax’s risks.” FDA Brief as Amicus Curiae,

  at *14. Because the FDA alone is the “arbiter of which data and information is or is

  not ‘material’ to [its] decision to approve or reject a change to a drug’s label” under




                                            43
Case 1:08-cv-00008-KMW-MJS         Document 4541       Filed 03/23/22    Page 44 of 87 PageID:
                                         86269



  Merck, the FDA’s view of the evidence matters. 16 In re Avandia, 945 F.3d at 759.

  Accordingly, I conclude that Defendant has satisfied the first Merck prong.

         C.     Prong 2 of Impossibility Preemption

         As to the second prong of preemption, the crux of the parties’ dispute is

  whether the FDA informed Defendant that it would not approve changing Fosamax’s

  label to add the warning required by state law. Arguing in the negative, Plaintiffs

  advance two reasons why: (1) the CRL does not carry preemptive effective because it

  is not a final agency action, and (2) the FDA rejected Defendant’s proposed warning

  for emphasizing “garden variety” stress fractures, not because it disagreed with the

  underlying science linking Fosamax use to atypical femoral fractures; in that regard,

  Plaintiffs claim that the Agency might have approved some other version of the

  warning had Defendant proposed one. I will address each, in turn.

                i.     The Preemptive Effect of the CRL

         Plaintiffs argue—for the very first time in this long-pending MDL—that the

  CRL is not preemptive because it is not a final agency action which consummates the

  FDA’s decisionmaking process. Pl. Br., at 12-14.

         The Supremacy Clause grants “supreme” status only to the “the Laws of the

  United States.” U.S. CONST. ART. VI, CL. 2. “Nothing short of federal law can have that

  effect.” Fellner, 539 F.3d at 243; Gibbons v. Ogden, 22 U.S. 1 (1824). Federal agency

  actions can constitute “Laws” in the sense of the Supremacy Clause. Hillsborough



  16    Because I conclude that Defendant fully informed the FDA of the justifications for its
  warning, I need not address Defendant’s contention that Plaintiffs “waived any contrary
  argument [on this issue] several times over” by not raising it on appeal. Def. Br., at 20.


                                              44
Case 1:08-cv-00008-KMW-MJS         Document 4541       Filed 03/23/22    Page 45 of 87 PageID:
                                         86270



  County, 471 U.S. at 713 (“[S]tate laws can be preempted by federal regulations as

  well as by federal statutes.”); New York v. Fed. Commc’n Comm’n, 486 U.S. 57, 63

  (1988) (“The phrase ‘Laws of the United States’ [in the Supremacy Clause]

  encompasses both federal statutes themselves and federal regulations that are

  properly adopted in accordance with statutory authorization”). However, this applies

  “only when [ ] [the agency] is acting within the scope of its congressionally delegated

  authority, . . . for an agency literally has no power to act, let alone pre-empt the validly

  enacted legislation of a sovereign State, unless and until Congress confers power upon

  it.” New York v. FERC, 535 U.S. 1, 18 (2002) (quotations and alterations omitted);

  Fidelity Fed. Savings and Loan Ass’n v. de la Cuesta, 458 U.S. 141, 153-54 (1982).

         Relying on Justice Thomas’ concurrence, Plaintiffs argue that the CRL does

  not carry preemptive effect because it is not a final agency action. Pl. Br., at 27-28.

  According to Plaintiffs, the CRL does not mark “the consummation of the agency’s

  decisionmaking process,” Bennett v. Spear, 520 U.S. 154, 178 (1997) (quotations

  omitted), finally determine the parties’ “rights or obligations,” or impose “legal

  consequences.” Port of Boston Marine Terminal Assn. v. Rederiaktiebolaget

  Transatlantic, 400 U.S. 62, 71 (1970). This argument is misplaced for several reasons.

  To begin, the majority in Merck explicitly cited 21 C.F.R. § 314.110(a), which

  empowers the FDA to “formally reject” a drug manufacturer’s proposed warning

  through a CRL, as an example of an FDA action that does constitute “Law” in the

  sense of the Supremacy Clause. 139 S.Ct. at 1679. That should end the inquiry.




                                              45
Case 1:08-cv-00008-KMW-MJS        Document 4541      Filed 03/23/22    Page 46 of 87 PageID:
                                        86271



        In any event, Plaintiffs’ position appears to confuse the question whether an

  agency action is final—for example, for the purposes of providing judicial review

  under the Administrative Procedures Act, Port of Boston, 400 U.S. at 71—with the

  question of whether the agency action is “Law” with the power to preempt. These are

  distinct inquiries and have different legal consequences. The preemption question

  turns on whether Congress delegated to the agency the authority to act in such a

  manner in the first instance, not on whether the agency’s action is necessarily a

  “final” one. FERC, 535 U.S. at 19 (“This sort of case . . . defining the proper scope of

  federal power . . . requires us to be certain that Congress has conferred the

  authority.”). The yardstick is congressional intent, not the finality of its action. See,

  e.g., English v. General Elec. Co., 496 U.S. 72, 78-79 (1990) (“[P]reemption

  fundamentally is a question of congressional intent.”); Medtronic, 518 U.S. at 485

  (“‘The purpose of Congress is the ultimate touchstone’ in every preemption case.”)

  (quoting Retail Clerks v. Schermerhorn, 375 U.S. 96, 103 (1963)); Cipollone v. Liggett

  Group, Inc., 505 U.S. 504, 516, 530 n.27 (1992) (holding that the scope of preemption

  must rest “on a fair understanding of congressional purpose”); Malone v. White Motor

  Corp., 435 U.S. 497, 504 (1978) (“It is uncontested that whether [the statute at issue

  is preempted] depends on the intent of Congress.”); Louisiana Pub. Serv. Comm’n v.

  FCC, 476 U.S. 355, 374 (1986) (stating that the best way to determine preemption “is

  to examine the nature and scope of the authority granted by Congress to the agency”).

        It follows that for preemption purposes, it is mostly irrelevant whether the

  CRL is “of a merely tentative or interlocutory nature,” Bennett, 520 U.S. at 178, or




                                             46
Case 1:08-cv-00008-KMW-MJS       Document 4541      Filed 03/23/22   Page 47 of 87 PageID:
                                       86272



  that it simply “informs sponsors of changes that must be made before an application

  can be approved, with no implication as to the ultimate approvability of the

  application.” 73 Fed. Reg. 39588. As Defendant points out, Def. Rep. Br., at 11-12, if

  Plaintiffs’ position were to prevail, no CRL could ever carry preemptive effect because

  all CRLs require some subsequent action on the part of the manufacturer, and

  preserve some procedural mechanism to further engage with the FDA, even if futile.

  21 C.F.R. § 314.110(b) (providing three options: “[r]esubmit the application . . . ,

  addressing all deficiencies identified in the [CRL],” “[w]ithdraw the application . . .

  without prejudice to a subsequent submission,” or “[a]sk the agency to provide . . . an

  opportunity for a hearing,” after which “the agency will either approve” or “refuse . .

  . the application”). And, more importantly, it would abrogate the very preemption

  effect of the federal regulation, 21 C.F.R. 314.110(a), that the FDA promulgated

  pursuant to congressional authority. For these reasons, I reject Plaintiffs’ claim that

  the CRL does not have preemptive effect under the Supremacy Clause. I turn, next,

  to the content of the CRL.

               ii.    The CRL

        The parties dispute how to construe the meaning, and impact, of the CRL,

  which centers on four issues: (1) whether Defendant proposed an adequate warning;

  (2) whether the contents of the CRL, alone, support the inference that the FDA

  rejected Defendant’s warning based on the Agency’s belief that the underlying science

  did not justify one; (3) if the CRL does not convey such an inference on its face,

  whether the CRL, when construed in addition to the FDA’s other communications




                                            47
Case 1:08-cv-00008-KMW-MJS        Document 4541       Filed 03/23/22   Page 48 of 87 PageID:
                                        86273



  from the same time period, support that inference; and (4) how the surrounding

  regulatory regime informs the CRL. Plaintiffs posit that Defendant’s warning was

  inadequate under state law, and the FDA rejected it merely because of the general

  “stress fractures” language, which does not indicate whether a differently worded

  warning would have been accepted by the FDA. Defendant, on the other hand,

  maintains that it sought to warn of the very injury Plaintiffs suffered, and the CRL—

  construed either on its own or in light of the FDA’s other communications—prohibited

  Merck from adding any and all warnings to the Fosamax label because the Agency

  seriously questioned, and therefore doubted, a causal connection between

  bisphosphonates and atypical femoral fractures.

                   1. Adequacy of Defendant’s Proposed Warning

        To show that the FDA rejected a warning that would have been adequate under

  state law, Defendant must first establish that it actually proposed such a warning,

  an implicit but critical step in the analysis. Plaintiffs insist that Defendant failed to

  do so, because Defendant merely proposed “garden variety” stress fractures in its

  language, rather than atypical femoral fractures, despite scientific evidence allegedly

  differentiating between the two. Pl. Br., at 1, 5, 16. Plaintiffs point to the text of the

  warning as support: “every sentence after the first sentence described . . . ‘stress

  fractures’” not “atypical” fractures, id. at 17, the warning referenced “similar clinical

  features” in fractures in “patients not treated with bisphosphonates,” and Defendant

  suggested evaluating patients for other “known causes and risk factors,” in addition

  to bisphosphonate use.




                                             48
Case 1:08-cv-00008-KMW-MJS        Document 4541       Filed 03/23/22   Page 49 of 87 PageID:
                                        86274



         Defendant responds that it “tried to warn of the precise low-energy fractures

  that Plaintiffs allegedly suffered.” Def. Rep. Br., at 5. In its proposed warning,

  Defendant highlights that it emphasized the essential features of atypical femoral

  fractures even if it did not use the term “atypical.” Id. Defendant also points to “the

  warning that the FDA mandated following the Task Force Report,” which conveys

  similar information as Defendant’s proposed one, id. at 8, and which Plaintiffs

  concede is adequate. Pl. Br., at 10. Finally, Defendant notes communications with the

  FDA characterizing the warning as pertaining to “atypical . . . fractures,” Def. Br.,

  Ex. 2, at A1500; Pl. Br., Ex. 10, at A1145, and expert testimony that it “approach[ed]

  the FDA with respect to [such] fractures.” Def. Rep. Br., at 8; Def. Br., Ex. 3, at A1498;

  id., Ex. 15, at 660.

         As an initial matter, Plaintiffs raised this argument before Judge Pisano to no

  avail. Glynn, 951 F. Supp. 2d at 701 (rejecting position that “the FDA rejected the

  PAS because [Defendant] used the phrase ‘stress fracture’ instead of ‘atypical’

  fracture, and the FDA would have approved an appropriately worded warning”). After

  hearing expert testimony from both parties on the relevant terminology, Judge

  Pisano found Defendant’s warning to contain “the same language” that Plaintiffs

  contend state law requires. Id. at 703-04.

         I reach the same result upon a fresh review of the record. To reiterate, Merck

  proposed adding the following language to the Precautions section:

         Low-Energy Femoral Shaft Fracture

         Low-energy fractures of the subtrochanteric and proximal femoral shaft
         have been reported in a small number of bisphosphonate-treated



                                               49
Case 1:08-cv-00008-KMW-MJS         Document 4541     Filed 03/23/22    Page 50 of 87 PageID:
                                         86275



         patients. Some were stress fractures (also known as insufficiency
         fractures) occurring in the absence of trauma. Some patients
         experienced prodromal pain in the affected area, often associated with
         imaging features of stress fracture, weeks to months before a complete
         fracture occurred. The number of reports of this condition is very low,
         and stress fractures with similar clinical features also have occurred in
         patients not treated with bisphosphonates. Patients with suspected
         stress fractures should be evaluated, including evaluation for known
         causes and risk factors (e.g., vitamin D deficiency, malabsorption,
         glucocorticoid use, previous stress fracture, lower extremity arthritis or
         fracture, extreme or increased exercise, diabetes mellitus, chronic
         alcohol abuse), and receive appropriate orthopedic care. Interruption of
         bisphosphonate therapy in patients with stress fractures should be
         considered, pending evaluation of the patient, based on individual
         benefit/risk assessment.

  Pl. Br., Ex. 38 at A1371. To begin, I refer to the science regarding bone resorption

  and formation. All bones, whether healthy or osteoporotic, can develop microscopic

  cracks—called stress fractures—from everyday activity. These “ordinarily heal on

  their own through the bone remodeling process.” Merck, 139 S.Ct. at 1673. When that

  process is disrupted, from a bisphosphonate for example, the body may not naturally

  repair itself, creating stress fractures as a result. Relevant here, stress fractures may

  then progress to atypical femoral fractures, or complete breaks of the femur, which

  cause pain and require surgery rather than rest. Stated differently, atypical femoral

  fractures are stress fractures, but more severe than other types of stress fractures,

  such as those that heal on their own. Shane et al., Atypical Subtrochanteric and

  Diaphyseal Femoral Fractures: Second Report of a Task Force of the American Society

  for Bone and Mineral Research, 29 J. Bone & Min. Res. 1, 12 (2014) (concluding same).

  Plaintiffs all but concede this point: atypical femoral fractures “start as . . . stress

  fractures.” Pl. Br., Ex. 4, at 12.




                                             50
Case 1:08-cv-00008-KMW-MJS        Document 4541      Filed 03/23/22    Page 51 of 87 PageID:
                                        86276



        It is also important to consider the Task Force Report, which defined key

  characteristics of, and risk factors for, atypical femoral fractures. The Task Force

  listed “Major Features,” which are necessary to diagnose a patient with an atypical

  femoral fracture, and Minor Features, which may be associated with such a fracture

  but are not required characteristics. As to the Major Features, the fracture is (1)

  “located anywhere along the femur from the distal to the lesser trochanter to just

  proximal to the supracondylar flare”; (2) “associated with no trauma or minimal

  trauma”; (3) transverse or short oblique in configuration; (4) noncomminuted,

  meaning that there are not multiple breaks; and (5) complete in that it extends

  through both cortices and may be associated with a medial spike. The Minor Features

  are: (1) localized periosteal reaction of the lateral cortex; (2) generalized increase in

  cortical thickness of the diaphysis; (3) prodromal symptoms such as dull or aching

  pain in the groin or thigh; (4) bilateral fractures and symptoms; (5) delayed healing;

  (6) comorbid conditions (e.g., vitamin D deficiency, rheumatoid arthritis,

  hypophosphatasia); and (7) use of pharmaceutical agents (e.g., bisphosphonates,

  glucocorticoids, and proton pump inhibitors). Shane et al., Atypical Subtrochanteric

  and Diaphyseal Femoral Fractures: Report of a Task Force of the American Society for

  Bone and Mineral Research, 25 J. Bone & Min. Res. 2267, 2268-69 (2010).

        Having set forth the foundational science, I turn to the proposed warning.

  First, Plaintiffs argue that the title “Low-Energy Femoral Shaft Fracture” references

  “a broad category” of fractures including “[atypical femoral fractures] and less serious

  fractures,” Pl. Br., at 17 n.3, and thus, does not constitute an adequate warning. I




                                             51
Case 1:08-cv-00008-KMW-MJS        Document 4541      Filed 03/23/22    Page 52 of 87 PageID:
                                        86277



  disagree. The title itself describes aspects of an atypical fracture, that is, it occurs

  from minimal trauma (i.e., low-energy) and in a discrete part of the thigh bone (i.e.,

  the femoral shaft), which, according to the Task Force, are the two Major Features of

  atypical femoral fractures. This is consistent with the Patient Packet Insert for

  Fosamax, which alerts patients that some users “have experienced fracture in a

  specific part of the thigh bone.” Def. Br., Ex. 1, at A2742 (emphasis added). The first

  sentence of the warning then describes that the type of fracture at issue, or the subject

  of the warning, occurs in the “subtrochanteric and proximal” region of the “femoral

  shaft,” which is another Major Feature identified in the Report, and a distinguishing

  characteristic according to Plaintiffs’ own brief. Pl. Br., Add. 8 (containing an x-ray

  image of an atypical femoral fracture displaying these features); id., Ex. 2, at A1148-

  49 (explaining that atypical femoral fractures are distinguishable, in part, because

  they occur “perpendicular to the femoral shaft” and in “the proximal (upper) third . .

  . or the subtrochanteric region”).

        Next, the warning advises that “[s]ome” low-energy femoral shaft fractures

  “[are] stress fractures.” Plaintiffs interpret this sentence as conflating garden variety

  stress fractures with atypical femoral fractures, despite a distinction between them.

  Pl. Br., at 32 (“Merck improperly conflated the underlying fracture mechanism that

  leads to [atypical femoral fractures] with the ultimate outcome.”). I do not see any

  basis in the science for such a strict dichotomy. As discussed supra, atypical femoral

  fractures are stress fractures, just severe ones and located in a particular part of the

  body, exhibiting a difference in degree but not necessarily in kind. Merck, 139 S.Ct.




                                             52
Case 1:08-cv-00008-KMW-MJS        Document 4541       Filed 03/23/22   Page 53 of 87 PageID:
                                        86278



  at 1674 (stating that atypical femoral fractures “progress” from microscopic stress

  fractures); Glynn, 951 F. Supp. 3d at 704 (quoting one of Plaintiffs’ experts who

  testified that Fosamax “can lead . . . to subsequent stress fracture formation”). In the

  Task Force’s own words, “[t]he radiologic presentation of atypical femoral fractures

  bears striking similarities to that of stress fractures.” Shane et al., at 2270. In

  addition, in Plaintiffs’ expert’s words, “decreased bone toughness can lead to stress

  fracture. Fosamax and other [bisphosphonates] can reduce the body’s ability to repair

  a stress fracture once it has begun, prior to complete fracture. This might explain

  why a large number of bisphosphonate-induced stress fractures go on to completion.”

  Pl. Br., Ex. 3, at A880.

         On this point, Plaintiffs inexplicably overlook Defendant’s PAS, which

  explains that Defendant uses the term “stress fracture” in its warning to mean an

  “insufficiency fracture” that occurs with no “identifiable external traumatic event.”

  Def. Br., Ex. 1, at A2751-52. While the term “stress fracture” often, in generic terms,

  “connotes a fracture resulting from excessive loading of a normal bone,” as is common

  in athletes, an “insufficiency [ ] fracture” is a specific type of stress fracture “caused

  by normal loading of poor-quality bone,” as allegedly happened to Plaintiffs after

  taking Fosamax and about which Defendant sought to warn. DORLAND’S ILLUSTRATED

  MEDICAL DICTIONARY 710-11 (29th ed. 2000) (defining an “insufficiency f[racture]” as

  “a stress fracture that occurs during normal stress on a bone of abnormally decreased

  density”). Defendant’s PAS goes on to state that 91% of the fractures discussed

  therein, and referenced in the warning, resulted in surgical intervention, while the




                                             53
Case 1:08-cv-00008-KMW-MJS       Document 4541      Filed 03/23/22    Page 54 of 87 PageID:
                                       86279



  other 9% involved patients who sustained only “incomplete stress fractures,” Def. Br.,

  Ex. 1, at A2755, which further distinguishes the warned-of injury from the garden

  variety type.

        Next, Plaintiffs cite an internal email between Merck colleagues from

  December 19, 2010, in which several Merck employees shared redline revisions to

  rationales for their proposed changes to the Fosamax label. Pl. Br., Ex. 27, at A1573.

  Within those rationales, Defendant states that “most of the stress fractures general

  physicians have seen are associated with repetitive stress injury related to exercise

  (e.g., running) in younger adults, and that this type of stress fracture generally heals

  well with rest.” Id. Plaintiffs offer this as “belated” evidence that Defendant knew its

  “proposed focus on stress fractures [in 2008] would confuse general physicians.” Pl.

  Br., at 18. Having reviewed the email, such an inference cannot be drawn. Setting

  aside the questionable relevance of internal correspondence regarding the FDA-

  mandated label change over two years later, read in context of the email, Defendant’s

  statement sought to clear up any confusion by suggesting that physicians rule out

  common causes before diagnosing a rarer atypical femoral fracture. Indeed, as the

  warning stated, because “[t]he number of reports of this condition is very low,”

  patients should “be evaluated . . . for known causes and risk factors.” This mirrors

  the Task Force’s own determination two years later that atypical femoral fractures

  occur with “relative rarity” and may be “associated” with “comorbid conditions.” Pl.

  Br., Ex. 2, at A1147.




                                            54
Case 1:08-cv-00008-KMW-MJS        Document 4541       Filed 03/23/22   Page 55 of 87 PageID:
                                        86280



        Furthermore, Plaintiffs make much of the fact that atypical femoral fractures

  tend to “cause great pain,” Pl. Br., at 5 (quoting Merck, 139 S.Ct. at 1674); id. at 6

  (describing them as “debilitating”); id. at 17 (same, but “gruesome”), and they

  contrast this fracture with garden variety stress fractures, which usually heal

  themselves with rest and presumably do not cause much pain. Id. at 18. Plaintiffs

  argue that the lack of language regarding severe pain in Defendant’s warning is

  evidence that Defendant was describing garden variety stress fractures.               But

  Plaintiffs’ position is belied by: (1) the Task Force’s finding that such pain is a “Minor

  Feature,” not a required characteristic; (2) Defendant’s warning indeed provides that

  “[s]ome patients experience[] prodromal pain in the affected area” in any event, which

  suffices to capture any potential pain-related difference between atypical femoral

  fractures and garden variety stress fractures; and, most importantly, (3) the FDA-

  mandated label includes an almost identical statement, which Plaintiffs concede is

  adequate under state law. Def. Br., Ex. 7, at A1516-17. Further consistent with this

  purported feature of atypical femoral fractures, the Patient Package Insert instructs

  patients to “[c]all your doctor if you develop new or unusual pain in the hip or thigh.”

  Def. Br., Ex. 1, at A2742 (emphasis added).

        Relatedly, Plaintiffs emphasize the difference between “the nature” of garden

  variety stress fractures, which are “barely perceptible,” and atypical femoral

  fractures, where “the thigh bone (the largest and strongest bone in the body) looks

  like a pencil snapped in two.” Pl. Br., at 18; compare id., Add. 8 (containing an x-ray

  image of an atypical femoral fracture), with id., Add. 7 (containing an x-ray image of




                                             55
Case 1:08-cv-00008-KMW-MJS       Document 4541     Filed 03/23/22   Page 56 of 87 PageID:
                                       86281



  a microscopic stress fracture). Again, however, Plaintiffs’ argument that Defendant

  glossed over this unique feature of atypical femoral fractures in their warning lacks

  merit. Significantly, Defendant’s warning explicitly describes “a complete fracture,”

  a phrase that appears in the FDA-mandated label as well. The warning also cautions

  that such injuries can occur “weeks to months” after “prodromal pain . . . associated

  with imaging features of stress fracture.” The term “prodromal” denotes a transitory

  phase between the appearance of an initial symptom—i.e., a stress fracture—and the

  full development of a condition—i.e., “a complete fracture” of the thigh bone. To that

  extent, the warning captures the progression from microscopic fracture to total shaft

  fracture that defines the relationship between bisphosphonates and atypical femoral

  fractures, and the impact Fosamax may have on this type of fracture overtime. See

  Pl. Br., at 32; id., Ex. 3, at A880 (“Fosamax and other [bisphosphonates] can reduce

  the body’s ability to repair a stress fracture once it has begun, prior to complete

  fracture.”).

         Additionally, Plaintiffs focus on another portion of Defendant’s warning:

  “stress fractures with similar clinical features also have occurred in patients not

  treated with bisphosphonates,” which “threaten[s] to mislead physicians [and the

  FDA] about the nature of the relevant risk.” Pl. Br., at 18. As stated supra, I do not

  find this misleading, because the statement clarifies and underscores the rarity of

  atypical femoral fractures. In any case, according to the Task Force Report, the

  “nature of the relevant risk” can include comorbid conditions, which are a Minor

  Feature. Likewise, Plaintiffs offer nothing to reconcile their position with the fact




                                           56
Case 1:08-cv-00008-KMW-MJS         Document 4541       Filed 03/23/22    Page 57 of 87 PageID:
                                         86282



  that the FDA-mandated warning contains precisely the same statement—“these

  fractures also occur in osteoporotic patients who have not been treated with

  bisphosphonates.” Def. Br., Ex. 7, at A1516-17. If the FDA warning is adequate, as

  Plaintiffs acknowledge, so must be the warning proposed by Defendant in this regard.

         Finally, and more compellingly, regardless of any inadequacies in the text of

  Defendant’s warning, the FDA clearly understood the type of fracture at issue. In a

  June 2008 email titled “Fosamax Information Request – Atypical Fractures,” the

  Agency asked Defendant for more data concerning “the occurrence of atypical

  fractures.” Pl. Br., Ex. 10, at A1145. Then, in an email from April 2009, the FDA

  described Defendant’s PAS as the “currently pending [Supplemental Label Revision]

  for atypical fracture,” and stated that it would likely approve “atypical fracture

  language” in the “postmarketing adverse events section of the label” only, Def. Br.,

  Ex. 3, at A1498, which led to expert testimony at trial concluding that Defendant

  “approach[ed] the FDA with respect to atypical femur fractures” in 2008. Def. Br., Ex.

  15, at T660:5-8. What is more, the FDA even called the fractures at issue “atypical”

  in its CRL, Def. Br., Ex. 2, at A1500; id., Ex. 1, at A2751-52 (defining how the PAS

  uses the term stress fracture for the FDA, and distinguishing garden variety stress

  fractures), and stated in its October 2010 Safety Announcement that it had been

  studying “atypical” fractures all along.

         Plaintiffs’ only response to this evidence 17 can be distilled down to a single

  point: Defendant did not use the word “atypical” in its proposed warning. Not only is


  17    As discussed more fully, infra, this type of evidence, including email communications,
  may be considered by the Court in examining the CRL.


                                              57
Case 1:08-cv-00008-KMW-MJS        Document 4541      Filed 03/23/22    Page 58 of 87 PageID:
                                        86283



  that a terse and superficial interpretation of the text, but as Judge Pisano observed,

  and I agree, “atypical” was hardly settled scientific jargon at the time. Glynn, 951 F.

  Supp. 3d at 704 (quoting one of Plaintiffs’ trial experts who was “central” to their

  preemption argument, and who said that word was not “contrived” until about 2010).

  While this non-material characterization makes Defendant’s warning different from

  the FDA-mandated warning, it does not make the warning any less adequate under

  state law, nor does it create the inference that Defendant misunderstood or

  miscommunicated the underlying science. To the contrary, Defendant’s warning

  describes how/when atypical femoral fractures occur (low-energy events in the

  absence of trauma), where they occur (to the subtrochanteric and proximal femoral

  shaft), their nature (complete fractures), their progression (they develop out of garden

  variety stress fractures), and their severity (they can be associated with prodromal

  or unusual pain). Indeed, as explained supra, in this context, “atypical” is virtually

  synonymous with the term “low-energy” to describe the femoral fractures at issue.

  Accordingly, the warning had all the hallmarks of atypical femoral fracture such that

  not having employed the word “atypical” would not somehow change the nature of

  the proposed warning as plainly expressed by its language.

                   2. The Language of the CRL

        Next, Plaintiffs argue that the CRL, by its terms, rejected Defendant’s proposal

  based on language used, not on the fact that the FDA was unconvinced of a causal

  relationship between atypical femoral fractures and bisphosphonate. Pl. Br., at 19.

  Plaintiffs rely on the text of the letter to make this point, which, in Plaintiffs’ view,




                                             58
Case 1:08-cv-00008-KMW-MJS         Document 4541    Filed 03/23/22   Page 59 of 87 PageID:
                                         86284



  does not expressly reference any disagreement with the evidence linking atypical

  fractures to bisphosphonates. They also emphasize that Defendant’s litigation

  position differs from its own scientists’ “contemporaneous reading of the [CRL].” Id.,

  Ex. 29, at A1506; id., Ex. 30, at A1504; id., Ex. 17, at T265:12-18. Specifically,

  Plaintiffs point out that the day Defendant received the CRL, its Director of Clinical

  Research, Arthur Santora, interpreted it to convey that the “FDA wouldn’t let [Merck]

  mention stress fractures.” Id., Ex. 29 at A1506. That same day, Plaintiff highlights

  that Defendant’s U.S. Regulatory Liaison, James Adams, informed his colleagues

  that the FDA “believes that ‘stress fractures’ may not be clearly related to atypical

  subtrochanteric fractures.” Id., Ex. 30 at A1504. According to Plaintiffs, however,

  Adams later testified that the CRL does not mention any belief that “there was

  insufficient evidence to establish a causal association between Fosamax and atypical

  femur fractures.” Id., Ex. 17.

        Defendant insists that FDA rejected its proposed warning in the CRL because

  “the data was not yet sufficient to allow for [such a warning],” rather than because

  the Agency disagreed with Defendant’s wording. Def. Br., at 27. Like Plaintiffs,

  Defendant points to the text of the CRL, which states that the “justification” for the

  warning was “inadequate.” Defendant reads this as “a commentary on the absence of

  a sufficiently clear link between Fosamax and the atypical fractures at issue.” Id.

  And, because the CRL rejected Defendant’s warning for “reasons,” plural, the FDA

  could not have opposed the “stress fracture” language, alone. Def. Rep. Br., at 9.




                                            59
Case 1:08-cv-00008-KMW-MJS       Document 4541      Filed 03/23/22   Page 60 of 87 PageID:
                                       86285



        The CRL was a response to Defendant’s PAS, which, as discussed supra, sought

  to include a proposed warning that advised patients of the risk of developing atypical

  femoral fractures by taking Fosamax. In that regard, the CRL begins by describing

  Defendant’s proposal as “adding language to the PRECAUTIONS section and the

  ADVERSE REACTIONS, Post-Marketing Experience subsection of the Package

  Inserts (Pls) to describe low energy fractures at the subtrochanteric region of the

  femoral shaft. In addition these supplements propose adding language describing

  this type of fracture in the Patient Package Insert (PPIs).” Def. Br., Ex. 2, at A1500

  (emphasis added).     The FDA rejected Defendant’s proposal for amending the

  Precautions section, explaining:

        While the Division agrees that atypical and subtrochanteric fractures
        should be added to the ADVERSE REACTIONS, Post-Marketing
        Experience subsections of the FOSAMAX Tablets and Oral Solution and
        FOSAMAX Plus D Tablets labels, your justification for the proposed
        PRECAUTIONS section language is inadequate. Identification of
        “stress fractures” may not be clearly related to the atypical
        subtrochanteric fractures that have been reported in the literature.
        Discussion of the risk factors for stress fractures is not warranted and
        is not adequately supported by the available literature and post-
        marketing adverse event reporting.

        Id. at A1500-01 (emphasis added).

        I appreciate that, as worded, the language of the CRL gives rise to competing

  inferences with respect to why the FDA rejected Defendant’s warning. On the one

  hand, the CRL describes the “justification” for the warning as “inadequate.” Logically,

  the CRL was presumably referencing the data Defendant submitted with its PAS,

  linking low-energy femur fractures to bisphosphonates. On the other hand, the CRL

  discusses Defendant’s use of the term “stress fracture,” stating that such fractures



                                            60
Case 1:08-cv-00008-KMW-MJS        Document 4541      Filed 03/23/22    Page 61 of 87 PageID:
                                        86286



  “may not be clearly related to the atypical . . . fractures that have been reported in

  the literature” and it is “not warranted” to discuss risk factors for them. Def. Br., Ex.

  2, at A1500-01. In light of these competing readings, I must look beyond the CRL’s

  terms alone to ascertain its meaning and scope.

                   3. The FDA’s Communications from the Same Time Period

        If the CRL were the sum total of the evidence of FDA action in this case,

  Plaintiffs might be on firmer footing with regards to their preemption arguments.

  But, Defendant points to various communications from the FDA during the same time

  period to “understand what the FDA action [i.e., CRL] meant.” Def. Rep. Br., at 10.

  For instance, in April 2009, a month before the CRL, agency officials wrote that “the

  conflicting nature of the literature does not provide a clear path forward” on the

  question whether to add a warning to the Precautions section, Def. Br., at 26; Pl. Br.,

  Ex. 33, at A1970-71, and “more time [would] be need[ed] for [the] FDA to formulate a

  formal opinion on the issue of a precaution around these data.” Pl. Br., Ex. 12, at

  A1498; id., Ex. 33, at A1970-71. As stated, supra, the data specifically involves

  atypical femoral fractures.

        Then, in March 2010, the Agency stated that its review of the data “did not

  show an increase in th[e] risk” of atypical femoral fractures from bisphosphonate use.

  Def. Br., Ex. 5, A1508. FDA officials did not change their assessment until October

  2010, a month after the Task Force issued its Report, id., Ex. 10, at A1118-19; id.,

  Ex. 6, at A1392-93, which “clarif[ied] the features of atypical femoral fractures,” Pl.

  Br., Ex. 20, at A1392, and “help[ed] the [Agency] understand [them] a little bit better.”




                                             61
Case 1:08-cv-00008-KMW-MJS        Document 4541       Filed 03/23/22   Page 62 of 87 PageID:
                                        86287



  Id. at A1396. But even then, the FDA did not observe a definitive causal link. Indeed,

  this series of events would not have occurred “if the agency already had a sufficient

  basis, in May 2009, to approve a warning” in the Precautions section. Def. Br., at 26.

  Neither would the FDA’s own interpretation of the CRL in this litigation: it rejected

  Defendant’s warning for “the lack of adequate data to support [it],” not “because of . .

  . the term ‘stress fractures.’” FDA Brief as Amicus Curiae, at *31-32. Nevertheless,

  Plaintiffs argue that the FDA’s informal email communications are not “Laws” in the

  sense of the Supremacy Clause, and in any event, Defendant “ignores the full context

  of what [the] FDA told [it]” at the time. Pl. Br., at 25.

        Plaintiffs are correct that informal communications do not constitute “Laws”

  with the power to preempt. In re Avandia, 945 F.3d at 760 (holding that “an informal

  phone conversation with an FDA official is not an ‘agency action taken pursuant to

  the FDA’s congressionally delegated authority’”) (quoting Merck, 139 S.Ct. at 1679).

  Yet, importantly, Defendant does not argue that the FDA’s informal communications

  themselves establish preemption, only that they “shed light on” the meaning and

  scope of the CRL, which is “Law” with preemptive effect. Def. Br., at 30. I agree that

  it is appropriate to consider the communications for that limited purpose. See, e.g.,

  Fosamax, 852 F.3d at 293 (stating that the preemption inquiry involves an

  “evaluative inference about human behavior based on correspondence[] [and] agency

  statements”); Order at 1, No. 14-1900 (3d Cir. Nov. 25, 2019) (remanding to this Court

  “to determine the effect of the FDA’s [CRL] and other communications”); Center for

  Drug Evaluation & Research, FDA, CDER 21st Century Review Process: Desk




                                              62
Case 1:08-cv-00008-KMW-MJS         Document 4541     Filed 03/23/22   Page 63 of 87 PageID:
                                         86288



  Reference Guide 37 (2014) (explaining that the “[d]evelopment of final labeling” is “an

  iterative   process    between   the   applicant   and   FDA”   involving   significant

  correspondence); FDA, Guidance for Review Staff and Industry: Good Review

  Management Principles and Practices for PDUFA Products 21 (Apr. 2005)

  (addressing “communication between the FDA and applicants” during “labeling

  discussions”); 21 C.F.R. § 10.85(k) (providing that an FDA employee’s written

  statement, which constitutes “an informal communication,” “does not necessarily

  represent the formal position of FDA,” a statement that by its terms contemplates

  that certain employee statements may do so); In re Incretin, 2021 WL 880316, at *16-

  17 (considered and credited such evidence); Swanson v. Abbott Lab’ys, No. 14-1052,

  2017 WL 5903362, at *4 (S.D. Ohio Nov. 28, 2017) (same). Indeed, in Justice Alito’s

  concurrence here, he suggested that informal communications between the FDA and

  drug manufacturers should be considered in the preemption analysis. Merck, 139

  S.Ct. at 1685; see In re Zofran (Ondansetron) Prods. Liab. Litig., 541 F. Supp. 3d 164,

  194 (D. Mass. 2021).

        Focusing on the sequence of communications and announcements from the

  same period, the CRL does not tell the whole story without the proper context gleaned

  from other FDA communications. The FDA received data regarding atypical femoral

  fractures long before 2008, and specifically sought more information in June 2008 on

  “atypical femoral subtrochanteric femur fractures,” a request with which Defendant

  complied. Def. Br., Ex. 5, at A1508 (“All available case reports and clinical trial data

  were requested.”); Fosamax, 852 F.3d at 296 (“It is undisputed that the FDA was




                                             63
Case 1:08-cv-00008-KMW-MJS           Document 4541        Filed 03/23/22      Page 64 of 87 PageID:
                                           86289



  aware of the possible link between Fosamax and atypical fractures well before

  September 2010.”). Defendant proposed amending both the Precautions and Adverse

  Reactions sections of the Fosamax label in September 2008, to include an appropriate

  warning about atypical femoral fractures, which was “important” to do given their

  clinical significance, even if it “was not possible with the present data” to establish

  causation, and even if the FDA was in the process of reviewing the issue. Pl. Br., Ex.

  38, at A1349; Def. Br., Ex. 1, at A2756. The FDA rejected Defendant’s Precautions

  warning in May 2009. In correspondence before sending the CRL, agency officials

  stated that the “conflicting nature of the [scientific] literature does not provide a clear

  path forward” on a Precautions warning, “more time [would] be need[ed] for [the]

  FDA to formulate a formal opinion on the issue of a precaution” based on the data,

  and Defendant’s “elevation of [the warning] to a precaution” was “prolonging

  review.” 18 Pl. Br., Ex. 33, at A1971. Then, after sending the CRL, the FDA expressed

  no desire to consider revisions despite Defendant’s repeated inquiries to that end.

         As late as March 2010, the FDA continued to believe that the “available” data

  “did not show an increase in th[e] risk” of atypical femoral fractures from

  bisphosphonate use, instructed doctors to “continue to follow” the existing Fosamax



  18     As explained supra, the FDA clearly understood Defendant to be warning of the injury
  discussed in the literature, which is the same injury as Plaintiffs allegedly suffered. See, e.g.,
  Pl. Br., Ex. 10, at A1145 (asking Defendant for more data concerning “the occurrence of
  atypical fractures” in a June 2009 email titled “Fosamax Information Request – Atypical
  Fractures”); Def. Br., Ex. 3, at A1498 (describing Defendant’s PAS as the “currently pending
  [Supplemental Label Revision] for atypical fracture” in an April 2009 email); Def. Br., Ex. 15,
  at T660:5-8 (Plaintiff’s expert, Dr. Cheryl Blume, testified that Defendant “approach[ed] the
  FDA with respect to atypical femur fractures”); Def. Br., Ex. 2, at A1500 (calling the fractures
  at issue “atypical” in the CRL); Def. Br., Ex. 1, at A2752-52 (defining, for the FDA, how the
  PAS uses the term stress fracture).


                                                 64
Case 1:08-cv-00008-KMW-MJS       Document 4541      Filed 03/23/22   Page 65 of 87 PageID:
                                       86290



  label, and specifically noted a December 2008 study showing “similar numbers of

  atypical subtrochanteric femur fractures relative to classic osteoporosis” in patients

  not treated with bisphosphonates. The FDA made this Drug Safety Announcement

  pursuant to its Congressionally delegated authority. 21 U.S.C. § 355(r). The FDA also

  stated that it was “working closely with outside experts to gather additional

  information that may provide more insight.” Def. Br., Ex. 5, at A1508. Construed in

  light of these various FDA communications, the CRL clearly rejected Defendant’s

  warning, in part, because the FDA doubted the underlying science causally

  connecting bisphosphonate use and atypical femoral fractures.

        It is also telling that, in the process of rejecting Defendant’s Precautions

  warning, the FDA approved an Adverse Reactions warning for “low-energy femoral

  shaft and subtrochanteric fractures.” The reason for the Agency’s decision in this

  regard may very well be the different causal thresholds governing each section of the

  label. Indeed, the Precautions section requires “reasonable evidence of a causal

  association” to add a warning about an adverse event. 21 C.F.R. § 201.57(c)(6)

  (emphasis added). The Adverse Reactions section requires only “some basis to believe

  there is a causal relationship.” 21 C.F.R. § 201.57(c)(7) (emphasis added).

        Finally, the FDA, itself, believes that it rejected Defendant’s warning for “the

  lack of adequate data to support [it],” and not “because of . . . the term ‘stress

  fractures.’” FDA Brief as Amicus Curiae, at *31-32. Plaintiffs challenge this evidence

  because it is a “legal interpretation[] . . . submitted by government lawyers under a

  subsequent administration, nearly a decade after the fact,” which represents the




                                            65
Case 1:08-cv-00008-KMW-MJS       Document 4541      Filed 03/23/22    Page 66 of 87 PageID:
                                       86291



  views of the Office of the Solicitor General not the FDA. Pl. Br., at 22. I disagree on

  both points. First, “[I] have no reason to suspect that the Solicitor General’s

  representation of [the FDA’s] views reflects anything other than ‘the agency’s fair and

  considered judgment.’” Geier, 529 U.S. at 884. Second, an agency’s fair and considered

  judgment as to the meaning of its own regulation and actions deserves some measure

  of deference. Auer v. Robbins, 519 U.S. 452, 461-62 (1997).

        On the first point, it is appropriate to consider the FDA’s views because

  Congress delegated to that agency the authority to implement federal drug

  regulations, it has expertise in that highly “technical” subject matter, and it is well-

  equipped to navigate “the relevant history and background” on such a “complex and

  extensive” issue. Geier, 529 U.S. at 883 (giving “some weight” to agency’s view in a

  preemption case on similar grounds). Or, stated differently, the FDA is “likely to have

  a thorough understanding of its own regulation and objectives” with respect to any

  CRL it issues. Id.; Medtronic, 518 U.S. at 496 (relying, in part, on the FDA’s

  interpretation of a provision’s preemptive effect).

        On the second point, I am not strictly foreclosed from crediting the FDA’s

  reading of the CRL simply because the Agency advances it in litigation, particularly

  in light of all the other pertinent evidence. I am aware that in Kisor v. White, 139

  S.Ct. 2400 (2019), the Supreme Court warned that “a court should decline to defer to

  a merely convenient litigation position or post-hoc rationalization advanced to defend

  past agency action against attack,” such as a brand-new interpretation presented for

  the first time in legal briefs. Id. at 2417-18 (quotations and alterations omitted); see




                                            66
Case 1:08-cv-00008-KMW-MJS        Document 4541      Filed 03/23/22    Page 67 of 87 PageID:
                                        86292



  also Christopher v. SmithKline Beecham Corp., 567 U.S. 142, 155 (2012); Bowen v.

  Georgetown Univ. Hospital, 488 U.S. 204, 213 (1988). But, Kisor sets forth “[t[he

  general rule,” not an “entirely foreclosed . . . practice.” Kisor, 139 S.Ct. at 2417 n.6.

  For example, the Auer Court deferred to a “new regulatory interpretation presented

  in an amicus curiae brief in [the Supreme Court].” Id. Where the agency is not a party

  to the litigation and has expressed its views only at the Court’s invitation, as here,

  there is no reason to question whether it has provided its “fair and considered

  judgment” rather than an after-the-fact rationalization. Id. (citing Auer, 519 U.S. at

  462).

          In sum, when viewed in light the FDA’s communications, the CRL rejected

  Defendant’s Precautions warning because the FDA doubted the evidence linking

  bisphosphonate use to atypical femoral fractures in a causal sense. In other words,

  when it issued the CRL, the Agency believed that Fosamax’s current label adequately

  reflected the results of the Agency’s continuous and comprehensive evaluation of the

  risks associated with using Fosamax.

                   4. The Regulatory Regime

          Finally, the parties use the regulatory regime, indeed some of the same

  provisions, to draw opposite inferences as to the meaning of the CRL. This is “highly

  relevant” and bears discussion. Merck, 139 S.Ct. at 1685 (Alito, J., concurring in the

  judgment) (“On remand, I assume that the Court of Appeals will consider the effect

  of [21 U.S.C. § 355(o)(4)(A)].”); Seufert, 187 F. Supp. 3d at 1175 (“[A] clear evidence




                                             67
Case 1:08-cv-00008-KMW-MJS       Document 4541      Filed 03/23/22    Page 68 of 87 PageID:
                                       86293



  analysis must account for the regulatory framework governing prescription drug

  labeling.”).

         Plaintiffs argue that it is “dispositive” that the FDA “omi[tted]” any explicit

  discussion of the science linking bisphosphonates to atypical femoral fractures,

  because the agency must “describe all of the specific deficiencies that [it] has

  identified” when it sends a CRL. Pl. Br., at 20-21; 21 C.F.R. § 314.110(a)(1). To the

  extent that the FDA did not specifically raise causation as an issue, it cannot form

  any part of the basis for the agency’s rejection, unless the agency “wrote a false

  [letter].” Pl. Br., at 20.

         Defendant reads the regulations differently. Def. Br., at 25-27; Def. Rep. Br.,

  at 11-12. According to Defendant, the FDA has a duty to mandate a label change if

  it “becomes aware of new information” that “should be included in the labeling.” 21

  U.S.C. § 355(o)(4)(A). 19 Defendant reasons that the FDA did not do so until October

  2010, which implies that the FDA could not support a change before then and/or

  concluded that the Fosamax label conveyed the proper risk profile to the public at the

  time. Likewise, according to Defendant, the FDA will not reject a warning for

  “editorial” reasons, 21 C.F.R. § 314.105(b), and will “make every reasonable effort to

  communicate” any “easily correctable deficiencies” to a manufacturer “promptly,” 21

  C.F.R. § 314.102(b), including by suggesting remedies or recommending actions. 21

  C.F.R. § 314.110(a). In light of these provisions, Defendant submits that based on the


  19     Prior to October 2018, § 355(o)(4)(A)’s language contained slight differences not
  relevant here. See Substance Use-Disorder Prevention That Promotes Opioid Recovery and
  Treatment for Patients and Communities Act, Pub. L. 115-271, § 3041(b), 132 Stat. 3942-
  3943, effective Oct. 24, 2018.


                                            68
Case 1:08-cv-00008-KMW-MJS       Document 4541      Filed 03/23/22   Page 69 of 87 PageID:
                                       86294



  FDA’s statutory obligations, “[h]ad the Agency believed a [Precautions] change was

  justified earlier,” or that the problem with Defendant’s warning was fixable, such as

  Defendant’s “stress fractures” language, “it would have taken [the necessary] steps,”

  Def. Br., at 26, similar to the steps the FDA took as to Defendant’s Adverse Reactions

  warning, Def. Br., Ex. 1, at A2732, and when Defendant, again, proposed stress

  fractures language in December 2010 in response to the Agency’s mandated label.

        First, while the CRL did not use certain terminology, which would have made

  it less ambiguous, this Court has found, see supra, that the CRL did in fact reject

  Defendant’s proposed warning based on causation, and therefore, Plaintiff’s

  argument in this context must be rejected out of hand. But, even if I were to accept

  Plaintiffs’ position, one must assume that the FDA had reasonable evidence

  warranting a Precautions warning, but was so troubled by Defendant’s use of the

  term “stress fracture” that it rejected a warning without offering any suggestions or

  revisions. To make such an assumption would effectively overlook the FDA’s raison

  d’etre to regulate drug safety, its independent legal duty to notify a manufacturer as

  soon as it “becomes aware of new safety information that [it] believes should be

  included in the labeling of a drug” and “initiate discussions to reach an agreement . .

  . on labeling,” 21 U.S.C. § 355(o)(4)(A), and the “presumption of regularity”

  accompanying its actions. Rather, “in the absence of clear evidence to the contrary,

  [FDA officials] have properly discharged their official duties.” United States v.

  Chemical Foundation, Inc., 272 U.S. 1, 14-15, (1926) (quoted in Merck, 139 S.Ct. at

  1684 (Alito, J., concurring in part)). In other words, it is improbable that the FDA




                                            69
Case 1:08-cv-00008-KMW-MJS           Document 4541   Filed 03/23/22   Page 70 of 87 PageID:
                                           86295



  declined to approve Defendant’s Precautions warning, or failed to propose a solution

  to the problem it perceived with the language, i.e., stress fracture, all while the FDA

  had sufficient causal evidence linking bisphosphonates to atypical femoral fractures

  and thus exposing patients to the risk of severe injury in the interim. Accord Zofran,

  2021 WL 2209871, at *32 (“[T]he Court will not assume that the FDA failed to

  perform, in fact blatantly ignored, its statutory duties to review and monitor the drug

  for human safety . . . . Accepting plaintiffs’ argument would suggest that the FDA . .

  . turned a blind eye to evidence that Zofran causes birth defects. That is highly

  unlikely, to say the least. And it is also unlikely . . . that it refused to take up the

  issue with Novartis based on the technical point that Novartis had not sought to

  change that specific section.”).

        The more likely scenario is that the FDA’s actions taken in this case convey

  doubts that the Agency had about the underlying science, a deficiency no revision or

  edits could solve; hence, the Agency did not propose any. The FDA’s subsequent

  inaction—it did not mandate a label change until October 2010, despite substantial

  ongoing review both internally and by the Task Force—confirms its then-existing

  perspective on the science, not that it was merely troubled by Defendant’s

  phraseology of its proposed warning. Ridinis v. Maurince, No. 15-00020, 2020 WL

  1264178, at *21 (W.D. Mo. Mar. 16, 2020) (holding that “continued inaction . . . in

  light of the known issues and the ongoing give-and-take between [a manufacturer]

  and the FDA” can constitute “clear evidence”); In re Incretin-Based Therapies Prod.

  Liab. Litig., 142 F. Supp. 3d 1108, 1123-24 (S.D. Cal. 2015) (“The FDA’s subsequent




                                              70
Case 1:08-cv-00008-KMW-MJS       Document 4541      Filed 03/23/22    Page 71 of 87 PageID:
                                       86296



  inaction regarding drug labeling supports the conclusion that the FDA [did] not

  consider available scientific evidence of a causal association sufficient to warrant

  inclusion in the labeling . . . . [This] is highly persuasive given the FDA’s

  comprehensive review of pancreatic safety and ability to mandate a label change.”);

  see also Merck, 139 S.Ct. at 1685 (Alito, J., concurring in the judgment) (implying that

  FDA inactions in light of “[its § 355(o)(4)(A)] duty arguably affect the pre-emption

  analysis”).

        More to the point, the FDA “communicate[s] with applicants about scientific,

  medical, and procedural issues that arise” when it reviews a request for regulatory

  action. 21 C.F.R. § 314.102(a). More specifically, § 314.110(a)(2) imposes a “complete

  description” requirement when the agency sends a CRL; § 355(o)(4)(A) imposes an

  “obligation to initiate a label change” if the FDA believes one is warranted; §

  314.110(a)(3) states that a CRL reflects the “FDA’s complete review of the data

  submitted,” not merely the particular labeling language proposed; and under §

  314.105(b), the FDA may approve an application with “minor deficiencies” contingent

  on appropriate corrections. Taken together, these provisions warrant the following

  inference as to the FDA’s intention when it issued the CRL: the Agency did not believe

  there was reasonable scientific evidence of a causal association between

  bisphosphonate use and atypical femoral fractures, or else it would have suggested

  edits to that end, or simply mandated a warning using language that the FDA

  thought was more appropriate, similar to what the Agency ultimately did in 2010.




                                            71
Case 1:08-cv-00008-KMW-MJS        Document 4541      Filed 03/23/22    Page 72 of 87 PageID:
                                        86297



        What is more, the FDA red-lined Defendant’s proposed “stress fractures”

  language between October 2010, when the Agency imposed a label change, and

  January 2011, when Defendant implemented the Agency’s Precautions warning as-

  written. Were such language the sole problem with the 2008 warning, then the FDA

  could have simply stricken it, as it did two years later, or approved it on the condition

  that Defendant implement edits pursuant to 21 C.F.R. § 314.105(b). But, an issue

  existed in 2008 that did not exist in 2010, one that could not be resolved with any

  revisions: in 2008, the FDA was unconvinced of the causal link between

  bisphosphonate use and atypical femoral fractures. The Agency’s contrasting

  approaches to Defendant’s proposed “stress fractures” language cannot be reconciled

  otherwise. Accordingly, it follows from the regulatory regime that the FDA rejected

  Defendant’s warning for lack of reasonable evidence of causation.

               iii.   The Scope of the CRL

        Having determined the context of the CRL, I next determine the FDA’s likely

  response to another proposed warning based on how it did respond in the CRL. See,

  e.g., Fosamax, 852 F.3d at 293 (stating that the preemption inquiry requires

  “pars[ing]” the FDA’s actual response “to discern what it suggests about the FDA’s

  likely response”); Dobbs v. Wyeth Pharmaceuticals, 797 F. Supp. 2d 1264, 1277 (W.D.

  Ok. 2011) (finding preemption even though the FDA later determined that sufficient

  evidence existed to justify a warning, in part because it was “highly persuasive” that

  the FDA rejected a similar warning before).




                                             72
Case 1:08-cv-00008-KMW-MJS       Document 4541      Filed 03/23/22    Page 73 of 87 PageID:
                                       86298



                  1. A Revised PAS

        Plaintiffs first argue that the FDA would have approved a differently worded

  Precautions warning had Defendant simply removed the “stress fractures” language

  and resubmitted its PAS. Pl. Br., at 29 (“FDA invited further action from [Defendant]

  on at least four occasions, over several months, in various formats (email, formal

  letter, telephone call). Thus, ‘the ball was back in [Defendant’s] court to submit a

  revised, corrected proposal.’”) (quoting Fosamax, 852 F.3d at 299).

        Judge Pisano disagreed, finding that “the FDA would have rejected a stronger

  Precautions warning because the FDA did reject a stronger Precautions warning” in

  the CRL. OTSC Opinion, 2014 WL 1266944, at *16. Construed in light of the FDA’s

  communications and the regulations governing prescription drug labeling, I also find

  that: the CRL denied Defendant’s Precautions warning because the FDA doubted the

  causal connection, if any, between bisphosphonates and low-energy femur fractures,

  and to that extent, the letter foreclosed the possibility that the FDA would have

  approved a differently worded warning in a revised PAS, without any substantial

  change in science.

        Plaintiffs’ evidence to the contrary is unavailing. Indeed, while the FDA

  mentioned working with Defendant in April 2009 “to decide on language” for a

  warning in the Precautions section, the Agency conditioned that response with

  explicit language that only “if it [was] warranted,” an important qualification

  signaling the uncertain state of the underlying science. In fact, in the same email, the

  FDA instructed Defendant to “hold off” on a Precautions warning, which was




                                            73
Case 1:08-cv-00008-KMW-MJS       Document 4541      Filed 03/23/22    Page 74 of 87 PageID:
                                       86299



  “prolonging review,” so that it could “close out” its PAS and “agree quickly” to changes

  in the Adverse Reactions section, another sign that the Agency was not prepared to

  approve any revised Precautions language.

        Plaintiffs also point to various interactions between May and July 2009,

  purporting to show that Defendant declined to engage with the FDA after the CRL

  was issued. Pl. Br., at 28-29. Each interaction, put into context, however, is an

  attempt by Defendant to initiate further discussion, which the Agency rebuffed. For

  instance, in a June 2009 phone call, Defendant asked for “a teleconference” to discuss

  revisions to its Precautions warning. Pl. Br., Ex. 13 (“I asked . . . would the Division

  be open to a teleconference to discuss what may be acceptable.”). But the FDA

  responded that Defendant must “formally” request one. Id. (“[The FDA official]

  replied such requests should be made formally through a submission to the file.”).

        Soon thereafter, by email, Defendant reiterated its desire to discuss a

  Precautions warning. Id., Ex. 14 (“Per your recommendation from a previous

  conversation this [potential] meeting would be requested formally as a Type C

  meeting.”). Days later, however, the FDA informed Defendant in another phone call

  that it must “address both issues high-lighted in the [CRL] to initiate a new review

  cycle . . . or . . . withdraw the previous PAS.” Id., Ex. 15 (emphasis added); 21 C.F.R.

  § 314.110(b) (requiring a drug manufacturer to “address[] all deficiencies identified”

  by the FDA if it chooses to resubmit its application). One issue was the “inadequate

  justification” for the warning, which embodied the FDA’s then-existing skepticism on




                                            74
Case 1:08-cv-00008-KMW-MJS        Document 4541      Filed 03/23/22    Page 75 of 87 PageID:
                                        86300



  causation. Defendant received the same response when it asked the Agency to keep

  its PAS open pending further discussion.

        Likewise, in its Adverse Reactions CBE amendment in July 2009, Defendant

  stated that it “still believe[d]” in a Precautions warning about “low-energy fracture[s]”

  and anticipated requesting a formal meeting on that issue per the FDA’s prior

  instructions. Id., Ex. 16. Defendant never did so, and Plaintiffs demand an adverse

  inference for it. But, Plaintiffs overlook the fact that withdrawal is a lawful response

  to a CRL. 21 U.S.C. § 314.70(c)(6)(iii)(A). Moreover, a formal meeting is not a

  prerequisite to preemption. Dolin, 901 F.3d at 814 (rejecting plaintiff’s argument that

  defendant’s failure to request a formal meeting with the FDA after receiving a CRL

  barred preemption, which “misunderstands the preemption standard”); see also

  PLIVA, 564 U.S. at 619-20 (rejecting plaintiff’s argument that defendant’s failure to

  ask the FDA to change the brand-name label barred preemption for a generic

  manufacturer, because what matters is that the manufacturer “cannot independently

  satisfy its state duties without the Federal Government’s special permission and

  assistance”).

        Plaintiffs’ argument is essentially that Defendant could have, perhaps,

  theoretically, changed the FDA’s decision had Defendant somehow insisted on

  engaging with the Agency or invoked an available procedural mechanism rather than

  withdraw its PAS, but “the possibility of [that] possibility” is certainly not enough to

  “defeat[] pre-emption.” PLIVA, 564 U.S. at 626 n.8; cf. In re Actos (Pioglitazone) Prod.

  Liab. Litig., No. 11-2299, 2014 WL 4364832, at *20 (W.D. La. Sept. 2, 2014) (rejecting




                                             75
Case 1:08-cv-00008-KMW-MJS        Document 4541      Filed 03/23/22    Page 76 of 87 PageID:
                                        86301



  manufacturer’s preemption defense because of substantial evidence that the

  manufacturer declined various FDA efforts to require a stronger warning); Dorsett v.

  Sandoz, Inc., 699 F. Supp. 2d 1142, 1159 (S.D. Cal. 2010) (“Defendants offer nothing

  but theoretical assumptions of what the FDA would have done, and that is not enough

  to warrant a finding of preemption.”). Indeed, Plaintiffs have presented no evidence

  that the FDA made any suggestions, at the time it issued the CRL, that it would

  somehow change its decision regarding the proposed warning if Defendant made

  certain changes. Rather, the Agency rejected the warning based on a lack of scientific

  evidence, and it follows that the FDA would not have approved a Precautions warning

  had Defendant simply omitted the “stress fractures” language and resubmitted its

  PAS.

                   2. A CBE Amendment

         Plaintiffs also suggest that Defendant, on its own initiative, could have

  amended the Precautions section of the Fosamax label through a CBE amendment.

  The CBE process permits a drug manufacturer to unilaterally add a Precautions

  warning to its label, but only if “newly acquired information” provides “reasonable

  evidence of a causal association of a clinically significant adverse reaction linked to a

  drug.” 21 C.F.R. §§ 314.70(c)(6)(iii), 201.57(c)(6)(i). The question of whether newly

  acquired information exists is fact-intensive, but because it is “part and parcel of the

  broader legal [preemption] question,” Merck, 139 S.Ct. at 1680, it is incumbent upon

  this Court to decide. Lyons v. Boehringer Ingelheim Pharmaceuticals, Inc., 2020 WL

  5835125, at *8 (N.D. Ga. Sept. 29, 2020) (collecting cases holding same).




                                             76
Case 1:08-cv-00008-KMW-MJS        Document 4541       Filed 03/23/22   Page 77 of 87 PageID:
                                        86302



        “Newly acquired information” can take many forms. Information previously

  known to a manufacturer, but not submitted to the FDA, may suffice,73 Fed. Reg. at

  49,606, as well as “data derived from new clinical studies, reports of adverse events,

  or new analyses of previously submitted data (e.g., meta-analyses) if the studies,

  events, or analyses reveal risks of a different type or greater severity or frequency than

  previously included in submissions to FDA.” Wyeth, 555 U.S. at 569 (emphasis added);

  21 C.F.R. § 314.3(b). This “accounts for the fact that risk information accumulates

  over time and that the same data may take on a different meaning in light of

  subsequent developments.” Wyeth, 555 U.S. at 569. Notably, however, the CBE

  process does not exempt the proposed change from the FDA’s substantive

  requirements, nor does it eliminate FDA jurisdiction—two points that Plaintiffs

  acknowledge. Indeed, the FDA retains authority to review amendments submitted

  through the CBE process, and it will reject a CBE amendment if, among other things,

  it concludes that there is insufficient evidence of a link between the drug and the

  adverse event or the proposed change “requires approval prior to distribution.” 73

  Fed. Reg. 2848, 2851; 21 C.F.R. 314.70(c)(5)(i); see also id. 314.70(c)(7) (“If the agency

  disapproves the [CBE], it may order the manufacturer to cease distribution of the

  drug product(s) made with the manufacturing change.”); 71 Fed. Reg. 3922, 3934

  (“FDA reviews all such submissions and may later deny approval of” a CBE; “[t]hus,

  in practice, manufacturers typically consult with FDA prior to adding risk

  information to labeling”). Case law also highlights this important characteristic of

  the CBE process. See Wyeth, 555 U.S. at 571 (“Of course, the FDA retains authority




                                             77
Case 1:08-cv-00008-KMW-MJS        Document 4541      Filed 03/23/22    Page 78 of 87 PageID:
                                        86303



  to reject labeling changes made pursuant to the CBE regulation in its review of the

  manufacturer’s supplemental application, just as it retains such authority in

  reviewing all supplemental applications.”); Mason v. SmithKline Beecham Corp., 596

  F.3d 387, 392 (7th Cir. 2010) (“It is technically a violation of federal law to propose a

  CBE that is not based on reasonable evidence.”).

        Here, as of March 2010, the fact that the FDA still believed that “reasonable

  evidence of a causal association” was lacking and that it rejected Merck’s proposed

  Precaution in 2009, demonstrate that it would not have approved the same change

  by way of a CBE amendment. See Dobbs, 797 F. Supp. 2d at 1276 (noting that the

  FDA had rejected risk information added by a CBE amendment because “it did not

  believe that a causal association” between the drug and the purported risk “has as

  yet been definitively established”). Indeed, as a matter of procedure, in order for

  Defendant to proceed with the CBE process after the FDA rejected its PAS—Merck

  was required to produce data indicating a greater-than-previously-known risk of

  atypical femoral fractures, which could establish “reasonable evidence” of a causal

  association. Drescher v. Bracco Diagnostics, Inc., 2020 WL 699878, at *4 (D. Az. Jan.

  31, 2020) (examining “whether Plaintiff has pled reasonable evidence of a causal

  association sufficient to allow a CBE label change”); Dobbs, 797 F. Supp. 2d at

  1272 (“The FDA has consistently defined reasonable evidence . . . as ‘when evidence

  exists on the basis of which experts qualified by scientific training and experience can

  reasonably conclude that the hazard is associated with the use of the drug.’”); 44 Fed.

  Reg. 2848, 2851 (allowing a CBE amendment only for “known hazards and not




                                             78
Case 1:08-cv-00008-KMW-MJS       Document 4541      Filed 03/23/22    Page 79 of 87 PageID:
                                       86304



  theoretical possibility”); id. at 49,604 (stating that this is how the FDA ensures

  “scientifically accurate information appears in the approved labeling”); see also

  Gibbons v. Bristol-Myers Squibb Co., 919 F.3d 699, 707 (2d Cir. 2019) (holding that

  manufacturers are “limited in their ability to unilaterally change the labels on their

  products” because they must comply with the CBE regulation’s causation thresholds);

  Merck, 139 S.Ct. at 1677 (explaining that, “when the risks of a particular drug

  become apparent, the manufacturer has a duty to provide a warning that adequately

  describes the risk”) (emphasis added).

        Certainly, no additional data between the period of time when the FDA issued

  its CRL and when the Agency finally decided to issue a Precautions warning,

  “reveal[ed] risks of a different type or greater severity or frequency” than the ones

  which Defendant knew, informed the FDA, and sought to warn against in the first

  instance. 21 C.F.R. § 314.3(b). Defendant submitted its PAS in September 2008,

  concluding based on the research at the time that “[i]t is not possible with the present

  data to establish whether” Fosamax “increases the risk of . . . low-energy

  subtrochanteric and/or proximal shaft fractures.” Pl. Br., Ex. 38, A1349. And, while

  Plaintiffs point to certain unidentified and unspecified case studies and articles,

  which purportedly demonstrate a different risk profile for Fosamax with respect to

  atypical femoral fractures that were available to Defendant between submission of

  its PAS in September 2008 and the Task Force Report in October 2010, those case

  studies and articles have neither been provided to the Court, nor summarized. Thus,

  the Court cannot evaluate the conclusions reached by those articles and case studies,




                                            79
Case 1:08-cv-00008-KMW-MJS       Document 4541      Filed 03/23/22    Page 80 of 87 PageID:
                                       86305



  nor can it even definitively determine whether Merck ever independently reviewed

  or provided those materials to the FDA.

          Moreover, even if those articles and case studies existed, in March 2010, the

  FDA announced that it had not seen “a clear connection between bisphosphonate use

  and a risk of atypical subtrochanteric femur fractures,” “an increase in the risk in

  women using [bisphosphonates],” or “[different] numbers of atypical subtrochanteric

  femur fractures” in “patients taking bisphosphonates” versus patients “not taking

  bisphosphonates” after reviewing case reports and clinical trial data from all

  bisphosphonate drug manufacturers. Pl. Br., Ex. 18, at A1508. These conclusions

  mirror those in Defendant’s PAS, and to that extent, do not shed light on any “newly

  acquired information” in the sense of the CBE regulation. In other words, even though

  the FDA’s then-ongoing review was arguably more thorough than any review it might

  have conducted under the CBE process—the Agency was compiling data from

  multiple manufacturers, analyzing a variety of new reports, revisiting old ones,

  conducting its own analyses, and working with outside experts on the Task Force—it

  did not uncover definitive evidence linking Fosamax use to atypical femoral fractures

  to a greater extent than Defendant originally indicated.

        Then, in September 2010, the Task Force published its Report, which

  developed a “provisional case definition” for the “features for complete and incomplete

  atypical [femoral] fractures,” reassessed prior studies in light of that definition, and

  reviewed a number of new articles/reports that Defendant had not previously

  submitted to the FDA, but added nothing not already known. Shane et al., at 2267-




                                            80
Case 1:08-cv-00008-KMW-MJS       Document 4541      Filed 03/23/22   Page 81 of 87 PageID:
                                       86306



  69. Still, according to the Report, “a causal association between [bisphosphonates]

  and atypical fractures ha[d] not been established.” Id. The science merely supported

  “evidence of a relationship between long-term [bisphosphonate] use and a specific

  type of subtrochanteric and femoral shaft fracture.” Pl. Br., Ex. 2, at A1167 (emphasis

  added). Defendant and the FDA, alike, had long recognized the same. See, e.g., Pl.

  Br., Ex. 10, at A1145 (stating, in June 2008, that the Agency was “aware of reports

  regarding the occurrence of subtrochanteric hip fractures in patients using

  bisphosphonates,” that these were “reportedly rare in patients with osteoporosis not

  on bisphosphonates,” and that it was “concerned about this developing safety signal”);

  Fosamax, 852 F.3d at 275 (citing A1258) (forwarding an article stating that Fosamax

  “may . . . potentially” increase the risk of such fractures); id. (citing A1237)

  (forwarding an article stating that Fosamax “may be associated” with such

  fractures”); id. (citing A1243) (forwarding an article stating that certain findings

  “raise[d] the possibility” that Fosamax may lead to such fractures).

        Given the conclusions in the Task Force Report, there was no “newly acquired

  information” as defined in the CBE regulation on the basis of which Defendant could

  have successfully submitted a CBE amendment. Accord In re Lipitor (Atorvastatin

  Calcium) Marketing, Sales Practices & Prod. Liab. Litig., 185 F. Supp. 3d 761, 769

  (D.S.C. 2016) (holding that a drug label cannot be changed based solely on

  “information previously submitted to the FDA”); Dolin, 901 F.3d at 816 (“The [2011]

  article contained the same figures as GSK’s 2006 analysis, which GSK submitted to

  the FDA. There is no basis to conclude that this was a new analysis or that it was ‘not




                                            81
Case 1:08-cv-00008-KMW-MJS         Document 4541        Filed 03/23/22    Page 82 of 87 PageID:
                                         86307



  previously submitted to the Agency.’”); Knight, 984 F.3d at 339 (explaining how a new

  article showing a “correlation” is insufficient to defeat preemption because the FDA

  already knew that); In re Incretin, 142 F. Supp. 3d at 1123 (stating that

  “indeterminate” or “inconclusive” evidence is not “reasonable evidence” sufficient to

  justify a CBE amendment); Seufert, 187 F. Supp. 3d at 1175 (stating that a CBE

  amendment “demands more than an indeterminate or inconclusive relationship”);

  McGrath, 393 F. Supp. 3d at 168 (“For the Court to draw the reasonable inference

  that Bayer could have unilaterally amended the Magnevist label in compliance with

  the FDA’s CBE regulation, the Complaint must plead more than the mere possibility

  that Magnevist caused Plaintiff’s fibrosis and related injuries.”). The “new” evidence

  published after Defendant submitted its PAS, and relied upon by Plaintiffs,

  established the very relationship or connection Defendant had identified all along. 20

         The FDA responded to the Task Force by issuing another Drug Safety

  Announcement in September 2010, but with the same conclusion as before: the

  Report would “facilitate future studies” assessing a causal link between “these




  20     The Task Force Report also “suggest[ed] that the risk rises with increasing duration
  of exposure.” Id. But this was not new information to the FDA either. Pl. Br., Ex. 2, at A1147
  (“The duration of [bisphosphonate use] relative to onset of the fracture was 5.3 years mean
  and 5 years median with a range from 3 months to 14 years.”); Merck, 139 S.Ct. at 1674
  (describing a report from a doctor in 2002 stating that his hospital called atypical femoral
  fractures the “Fosamax Fracture” because “100% of patients in his practice who have
  experienced femoral fractures . . . were taking Fosamax . . . for over 5 years”) (emphasis
  added); Merck, 139 S.Ct. at 1674 (“[Defendant began receiving adverse event reports from
  the medical community indicating that long-term Fosamax users were suffering
  atypical femoral fractures.”) (emphasis added); Fosamax, 852 F.3d at 275 (citing A1258,
  A1237, A1243) (describing how Defendant “began to see numerous scholarly articles and case
  studies documenting possible connections between long-term Fosamax use and atypical
  femoral fractures”) (emphasis added).


                                               82
Case 1:08-cv-00008-KMW-MJS        Document 4541      Filed 03/23/22    Page 83 of 87 PageID:
                                        86308



  unusual femur fractures” and bisphosphonate use, but “it is not clear if

  bisphosphonates are the cause [of such fractures].” Def. Br., Ex. 9, at A1512. This,

  too, echoes Defendant’s original assessment of the science/evidence and implies no

  new risks or correlations of which the FDA was not already aware. McGrath, 2019

  WL 2582530, at *5 (“Studies concluding it ‘remains unknown whether GBCAs induce

  toxic effects’ and that ‘further studies are required to address possible clinical

  consequences of gadolinium deposition . . . in patients with normal renal function’ do

  not constitute reasonable or well-grounded scientific evidence of ‘clinically significant

  adverse effects’ under the CBE regulation.”); Utts v. Bristol-Myers Squibb Co., 251 F.

  Supp. 3d 644, 669 (S.D.N.Y. 2017) (same, but with respect to articles that “merely

  express a desire for further investigation”), aff’d sub nom. Gibbons v. Bristol-Myers

  Squibb Co., 919 F.3d 699 (2d Cir. 2019).

        Finally, in October 2010, the FDA mandated a change to the Fosamax label,

  yet again it rejected any causal link, which is “squarely in line” with its prior

  conclusions and Defendant’s ongoing dialogue with the Agency. Lyons, 491 F. Supp.

  3d at 1364. The Task Force Report merely made the FDA “confident” that atypical

  femur fractures are “potentially more closely related to” long-term use of

  bisphosphonates “than [the Agency] previously had evidence for.” Def. Br., Ex. 6, at

  A1392-93 (emphasis added). The now-current Fosamax label, as written by the FDA,

  refuses to go any further than Defendant’s proposal thirteen years ago: “Causality

  has not been established as these fractures also occur in osteoporotic patients who

  have not been treated with bisphosphonates.” Accord Matrixx Initiatives, Inc. v.




                                             83
Case 1:08-cv-00008-KMW-MJS       Document 4541      Filed 03/23/22   Page 84 of 87 PageID:
                                       86309



  Siracusano, 563 U.S. 27, 44 (2011) (“The fact that a user of a drug has suffered an

  adverse event, standing alone, does not mean that the drug caused that event.”).

        In any event, the FDA’s review of Defendant’s CBE amendment would not have

  been any less rigorous than its review of Defendant’s PAS, particularly since the FDA

  was conducting its own review of causation at the time when Defendant had the

  opportunity to submit a CBE amendment, and Defendant’s view of the scientific

  evidence would not have been entitled to extra (or any) deference. Accord In re

  Incretin, 142 F. Supp. 3d at 1125. In fact, drug manufacturers almost always consult

  with the FDA before submitting CBE amendments to avoid future enforcement action

  for an unwarranted warning. Id. There was much correspondence between the FDA

  and Defendant here, none of which indicated that the Agency would permit

  Defendant to implement a Precautions warning through the CBE process, but not

  through the PAS process. In fact, and importantly, the FDA suggested that Defendant

  submit a label change for the Adverse Reactions section through the CBE process,

  but it did not make the same recommendation for the Precautions warning. Based on

  these FDA communications, it is difficult to imagine that Defendant could have

  successfully changed the Fosamax label through the CBE regulation after the FDA

  rejected its PAS.

        Contrary to Plaintiffs’ position, while Defendant of course could have tried to

  submit a CBE amendment, regardless of futility, Merck, 139 S.Ct. at 1975; Pl. Br.,

  Ex. 17, at T181:23-182:12, it need not do so merely to preserve its preemption defense.

  A manufacturer is under no obligation to use the CBE process to change the




                                            84
Case 1:08-cv-00008-KMW-MJS       Document 4541     Filed 03/23/22   Page 85 of 87 PageID:
                                       86310



  Precautions section of its label for any reason other than reasonable evidence of a

  causal association. Wyeth, 555 U.S. at 571 (cautioning that the mere availability of a

  CBE amendment does not defeat preemption); PLIVA, 564 U.S. at 628 n.8 (noting

  that “the possibility of possibility” is not enough); Dolin, 951 F.3d at 890-91

  (explaining how the phrase “would not have approved” in Wyeth implies that a drug

  manufacturer may prove preemption without showing that it ever attempted to make

  a label change); Cerveny, 783 Fed. App’x. at 804 n.8 (rejecting notion that “only

  labeling changes sought by the manufacturer can lead to preemption”); Cerveny, 155

  F. Supp. 3d at 1213-16 (explaining that lower courts have “universally rejected” the

  notion “that [Wyeth] requires a showing that the manufacturer attempted to apply

  the warning suggested by the plaintiff but that the labeling was ultimately rejected

  by the FDA”); In re Incretin, 142 F. Supp. 3d at 1126 (“[Wyeth] does not require CBE

  submission and rejection.”); Zofran, 2021 WL 2209871, at *32 (“Multiple courts have

  found preemption where the manufacturer had not requested the precise warning

  sought by the plaintiffs when the FDA had nonetheless made it clear that it would

  not accept that label change.”).

        A contrary rule would incentivize manufacturers to submit a CBE amendment

  regardless of risk magnitude or scientific justification, which would impose an undue

  burden on the FDA. Wyeth, 555 U.S. at 578-79 & n.11 (“[The] FDA has limited

  resources to monitor the 11,000 drugs on the market.”); Seufert, 187 F. Supp. 3d at

  1175 (“A rule to the contrary would encourage prophylactic labeling changes by

  manufacturers, which, in turn, could inundate the FDA with labeling submissions.”);




                                           85
Case 1:08-cv-00008-KMW-MJS       Document 4541      Filed 03/23/22    Page 86 of 87 PageID:
                                       86311



  FDA, FDAAA Implementation – Highlights Two Years After Enactment 7 (2010)

  (finding just 363 CBE amendments between 2009 and 2010). Not to mention that “[i]t

  is technically a violation of federal law to propose a CBE that is not based on

  reasonable evidence.” Mason, 596 F.3d at 392; Drescher, 2020 WL 699878, at *4

  (concluding same).

        Moreover, the FDA does not approve CBE amendments simply out of an

  abundance of caution, as Plaintiffs seem to suggest. The Agency regulates drug labels

  for precisely the opposite reason: so as not to “cause meaningful risk information to

  lose its significance.” 73 Fed. Reg. 2848, 2851 (“Exaggeration of risk, or inclusion of

  speculative or hypothetical risks, could discourage appropriate use of a beneficial

  drug . . . or decrease the usefulness and accessibility of important information by

  diluting or obscuring it.”). Indeed, “[w]hile it is important for a manufacturer to warn

  of potential side effects, it is equally important that it not overwarn because

  overwarning can deter potentially beneficial uses of the drug by making it seem

  riskier than warranted and can dilute the effectiveness of valid warnings.” Mason,

  596 F.3d at 392. The FDA is thus appropriately wary of “the resulting information

  overload [which] would make label warnings worthless to consumers.” Robinson v.

  McNeil Consumer Healthcare, 615 F.3d 861, 870-71 (7th Cir. 2010); Muzichuck v.

  Forest Laboratories, 2015 WL 235226, at *7 n.2 (N.D.W.V. Jan. 16, 2015) (“Public

  policy recognizes a danger in ‘overwarning’ consumers of potential drug-related

  risks.”). Accordingly, Defendant could not have met the relevant CBE criteria had it




                                            86
Case 1:08-cv-00008-KMW-MJS      Document 4541      Filed 03/23/22   Page 87 of 87 PageID:
                                      86312



  submitted a Precautions warning through that regulation after the FDA rejected its

  PAS.

                                    CONCLUSION

         Based on clear and convincing evidence, the Court finds that Defendant fully

  informed the FDA of the justifications for its proposed warning, which was adequate

  under state law and encompassed the injury Plaintiffs allege here. The FDA, in turn,

  informed Defendant that it would not approve changing the Fosamax label to include

  that warning in the CRL. Because the basis for the FDA’s rejection was insufficient

  evidence of a causal link between Fosamax and atypical femoral fractures, the Court

  is satisfied that the evidence is clear and convincing that the Agency would not have

  approved a differently worded warning no matter how Defendant attempted to

  submit one. Plaintiffs’ state law failure-to-warn claims are therefore preempted, and

  Defendant’s Motion for Summary Judgment is GRANTED.



  DATED: March 23, 2022                                     /s/ Freda L. Wolfson
                                                            Hon. Freda L. Wolfson
                                                            U.S. Chief District Judge




                                           87
